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 Fill in this information to identify your case:
 United States Bankruptcy Court for the:
 CENTRAL DIST. OF CALIFORNIA

 Case number (if known):                                      Chapter you are filing under:
                                                                        Chapter 7
                                                                        Chapter 11
                                                                        Chapter 12
                                                                                                                               Check if this is an
                                                                        Chapter 13
                                                                                                                               amended filing



Official Form 101
Voluntary Petition for Individuals Filing for Bankruptcy                                                                                                 12/17

The bankruptcy forms use you and Debtor 1 to refer to a debtor filing alone. A married couple may file a bankruptcy case
together--called a joint case--and in joint cases, these forms use you to ask for information from both debtors. For example, if
a form asks, "Do you own a car," the answer would be yes if either debtor owns a car. When information is needed about the
spouses separately, the form uses Debtor 1 and Debtor 2 to distinguish between them. In joint cases, one of the spouses
must report information as Debtor 1 and the other as Debtor 2. The same person must be Debtor 1 in all of the forms.

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying
correct information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write
your name and case number (if known). Answer every question.



 Part 1:       Identify Yourself
                                       About Debtor 1:                                        About Debtor 2 (Spouse Only in a Joint Case):
1.   Your full name
     Write the name that is on your
                                       David                                                  Karen
     government-issued picture
                                       First Name                                             First Name
     identification (for example,
     your driver's license or          B.                                                     E.
     passport).                        Middle Name                                            Middle Name

                                       Hawkins                                                Hawkins
     Bring your picture                Last Name                                              Last Name
     identification to your meeting
     with the trustee.                 Suffix (Sr., Jr., II, III)                             Suffix (Sr., Jr., II, III)


2.   All other names you
     have used in the last 8           First Name                                             First Name
     years
                                       Middle Name                                            Middle Name
     Include your married or
     maiden names.
                                       Last Name                                              Last Name


3.   Only the last 4 digits of
     your Social Security              xxx – xx –                   6        7       0    4   xxx – xx –                   8         7        9      1
     number or federal                 OR                                                     OR
     Individual Taxpayer
     Identification number             9xx – xx –                                             9xx – xx –
     (ITIN)




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Debtor 1     David B. Hawkins
Debtor 2     Karen E. Hawkins                                                              Case number (if known)

                                  About Debtor 1:                                              About Debtor 2 (Spouse Only in a Joint Case):

4.   Any business names                   I have not used any business names or EINs.                 I have not used any business names or EINs.
     and Employer
     Identification Numbers
     (EIN) you have used in       Business name                                                Business name
     the last 8 years
                                  Business name                                                Business name
     Include trade names and
     doing business as names
                                  Business name                                                Business name

                                               –                                                           –
                                  EIN                                                          EIN

                                               –                                                           –
                                  EIN                                                          EIN
5.   Where you live                                                                            If Debtor 2 lives at a different address:

                                  1026 Eston Street
                                  Number       Street                                          Number      Street




                                  Camarillo                       CA       93010
                                  City                            State    ZIP Code            City                           State    ZIP Code

                                  Ventura
                                  County                                                       County

                                  If your mailing address is different from                    If Debtor 2's mailing address is different
                                  the one above, fill it in here. Note that the                from yours, fill it in here. Note that the court
                                  court will send any notices to you at this                   will send any notices to you at this mailing
                                  mailing address.                                             address.



                                  Number       Street                                          Number      Street


                                  P.O. Box                                                     P.O. Box


                                  City                            State    ZIP Code            City                           State    ZIP Code


6.   Why you are choosing         Check one:                                                   Check one:
     this district to file for
     bankruptcy                           Over the last 180 days before filing this                   Over the last 180 days before filing this
                                          petition, I have lived in this district longer              petition, I have lived in this district longer
                                          than in any other district.                                 than in any other district.

                                          I have another reason. Explain.                             I have another reason. Explain.
                                          (See 28 U.S.C. § 1408.)                                     (See 28 U.S.C. § 1408.)


 Part 2:       Tell the Court About Your Bankruptcy Case

7.   The chapter of the          Check one: (For a brief description of each, see Notice Required by 11 U.S.C. § 342(b) for Individuals Filing
     Bankruptcy Code you         for Bankruptcy (Form 2010)). Also, go to the top of page 1 and check the appropriate box.
     are choosing to file
     under                               Chapter 7

                                         Chapter 11

                                         Chapter 12

                                         Chapter 13



Official Form 101                        Voluntary Petition for Individuals Filing for Bankruptcy                                                      page 2
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Debtor 1     David B. Hawkins
Debtor 2     Karen E. Hawkins                                                      Case number (if known)

8.   How you will pay the fee        I will pay the entire fee when I file my petition. Please check with the clerk's office in your local
                                     court for more details about how you may pay. Typically, if you are paying the fee yourself, you may
                                     pay with cash, cashier's check, or money order. If your attorney is submitting your payment on your
                                     behalf, your attorney may pay with a credit card or check with a pre-printed address.

                                     I need to pay the fee in installments. If you choose this option, sign and attach the Application for
                                     Individuals to Pay The Filing Fee in Installments (Official Form 103A).

                                     I request that my fee be waived (You may request this option only if you are filing for Chapter 7.
                                     By law, a judge may, but is not required to, waive your fee, and may do so only if your income is less
                                     than 150% of the official poverty line that applies to your family size and you are unable to pay the
                                     fee in installments). If you choose this option, you must fill out the Application to Have the Chapter 7
                                     Filing Fee Waived (Official Form 103B) and file it with your petition.


9.   Have you filed for              No
     bankruptcy within the
     last 8 years?                   Yes.

                                District USBC-Santa Barbara                            When 08/03/2010         Case number 9:10-bk-14034
                                                                                              MM / DD / YYYY
                                District                                               When                    Case number
                                                                                              MM / DD / YYYY

                                District                                               When                    Case number
                                                                                              MM / DD / YYYY

10. Are any bankruptcy               No
    cases pending or being
    filed by a spouse who is         Yes.
    not filing this case with
                                Debtor                                                             Relationship to you
    you, or by a business
    partner, or by an           District                                               When                    Case number,
    affiliate?                                                                                MM / DD / YYYY   if known


                                Debtor                                                             Relationship to you

                                District                                               When                    Case number,
                                                                                              MM / DD / YYYY   if known

11. Do you rent your                 No.    Go to line 12.
    residence?                       Yes. Has your landlord obtained an eviction judgment against you?

                                                 No. Go to line 12.
                                                 Yes. Fill out Initial Statement About an Eviction Judgment Against You (Form 101A)
                                                 and file it as part of this bankruptcy petition.




Official Form 101                     Voluntary Petition for Individuals Filing for Bankruptcy                                          page 3
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Debtor 1     David B. Hawkins
Debtor 2     Karen E. Hawkins                                                           Case number (if known)


 Part 3:      Report About Any Businesses You Own as a Sole Proprietor

12. Are you a sole proprietor             No. Go to Part 4.
    of any full- or part-time             Yes. Name and location of business
    business?

    A sole proprietorship is a
                                                 Name of business, if any
    business you operate as an
    individual, and is not a
    separate legal entity such as                Number     Street
    a corporation, partnership, or
    LLC.

    If you have more than one                    City                                                    State          ZIP Code
    sole proprietorship, use a
    separate sheet and attach it                 Check the appropriate box to describe your business:
    to this petition.
                                                        Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                                        Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                                        Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                                        Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                                        None of the above

13. Are you filing under             If you are filing under Chapter 11, the court must know whether you are a small business debtor so that it
    Chapter 11 of the                can set appropriate deadlines. If you indicate that you are a small business debtor, you must attach your
    Bankruptcy Code and              most recent balance sheet, statement of operations, cash-flow statement, and federal income tax return
    are you a small business         or if any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
    debtor?
                                          No.    I am not filing under Chapter 11.

                                          No.    I am filing under Chapter 11, but I am NOT a small business debtor according to the definition in
    For a definition of small
                                                 the Bankruptcy Code.
    business debtor, see
    11 U.S.C. § 101(51D).                 Yes. I am filing under Chapter 11 and I am a small business debtor according to the definition in the
                                               Bankruptcy Code.


 Part 4:      Report If You Own or Have Any Hazardous Property or Any Property That Needs Immediate Attention

14. Do you own or have any                No
    property that poses or is             Yes. What is the hazard?
    alleged to pose a threat of
    imminent and identifiable
    hazard to public health or
    safety? Or do you own
    any property that needs                      If immediate attention is needed, why is it needed?
    immediate attention?

    For example, do you own
    perishable goods, or
    livestock that must be fed, or               Where is the property?
    a building that needs urgent                                            Number   Street
    repairs?



                                                                            City                                    State          ZIP Code




Official Form 101                          Voluntary Petition for Individuals Filing for Bankruptcy                                           page 4
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Debtor 1     David B. Hawkins
Debtor 2     Karen E. Hawkins                                                            Case number (if known)


 Part 5:       Explain Your Efforts to Receive a Briefing About Credit Counseling
15. Tell the court          About Debtor 1:                                              About Debtor 2 (Spouse Only in a Joint Case):
    whether you             You must check one:                                          You must check one:
    have received a           I received a briefing from an approved credit                I received a briefing from an approved credit
    briefing about            counseling agency within the 180 days before I               counseling agency within the 180 days before I
    credit                    filed this bankruptcy petition, and I received a             filed this bankruptcy petition, and I received a
    counseling.               certificate of completion.                                   certificate of completion.
                               Attach a copy of the certificate and the payment             Attach a copy of the certificate and the payment
    The law requires           plan, if any, that you developed with the agency.            plan, if any, that you developed with the agency.
    that you receive a
                               I received a briefing from an approved credit                I received a briefing from an approved credit
    briefing about credit
                               counseling agency within the 180 days before I               counseling agency within the 180 days before I
    counseling before
                               filed this bankruptcy petition, but I do not have            filed this bankruptcy petition, but I do not have
    you file for
                               a certificate of completion.                                 a certificate of completion.
    bankruptcy. You
    must truthfully            Within 14 days after you file this bankruptcy petition,      Within 14 days after you file this bankruptcy petition,
    check one of the           you MUST file a copy of the certificate and payment          you MUST file a copy of the certificate and payment
    following choices.         plan, if any.                                                plan, if any.
    If you cannot do so,       I certify that I asked for credit counseling                 I certify that I asked for credit counseling
    you are not eligible       services from an approved agency, but was                    services from an approved agency, but was
    to file.                   unable to obtain those services during the 7                 unable to obtain those services during the 7
                               days after I made my request, and exigent                    days after I made my request, and exigent
    If you file anyway,        circumstances merit a 30-day temporary                       circumstances merit a 30-day temporary
    the court can              waiver of the requirement.                                   waiver of the requirement.
    dismiss your case,
    you will lose              To ask for a 30-day temporary waiver of the                  To ask for a 30-day temporary waiver of the
    whatever filing fee        requirement, attach a separate sheet explaining what         requirement, attach a separate sheet explaining what
    you paid, and your         efforts you made to obtain the briefing, why you             efforts you made to obtain the briefing, why you
    creditors can begin        were unable to obtain it before you filed for                were unable to obtain it before you filed for
    collection activities      bankruptcy, and what exigent circumstances                   bankruptcy, and what exigent circumstances
    again.                     required you to file this case.                              required you to file this case.

                               Your case may be dismissed if the court is                   Your case may be dismissed if the court is
                               dissatisfied with your reasons for not receiving a           dissatisfied with your reasons for not receiving a
                               briefing before you filed for bankruptcy.                    briefing before you filed for bankruptcy.

                               If the court is satisfied with your reasons, you must        If the court is satisfied with your reasons, you must
                               still receive a briefing within 30 days after you file.      still receive a briefing within 30 days after you file.
                               You must file a certificate from the approved agency,        You must file a certificate from the approved agency,
                               along with a copy of the payment plan you                    along with a copy of the payment plan you
                               developed, if any. If you do not do so, your case            developed, if any. If you do not do so, your case
                               may be dismissed.                                            may be dismissed.

                               Any extension of the 30-day deadline is granted only         Any extension of the 30-day deadline is granted only
                               for cause and is limited to a maximum of 15 days.            for cause and is limited to a maximum of 15 days.

                               I am not required to receive a briefing about                I am not required to receive a briefing about
                               credit counseling because of:                                credit counseling because of:
                                   Incapacity.    I have a mental illness or a mental           Incapacity.    I have a mental illness or a mental
                                                  deficiency that makes me                                     deficiency that makes me
                                                  incapable of realizing or making                             incapable of realizing or making
                                                  rational decisions about finances.                           rational decisions about finances.
                                   Disability.    My physical disability causes me              Disability.    My physical disability causes me
                                                  to be unable to participate in a                             to be unable to participate in a
                                                  briefing in person, by phone, or                             briefing in person, by phone, or
                                                  through the internet, even after I                           through the internet, even after I
                                                  reasonably tried to do so.                                   reasonably tried to do so.
                                   Active duty. I am currently on active military               Active duty. I am currently on active military
                                                duty in a military combat zone.                              duty in a military combat zone.
                               If you believe you are not required to receive a             If you believe you are not required to receive a
                               briefing about credit counseling, you must file a            briefing about credit counseling, you must file a
                               motion for waiver of credit counseling with the court.       motion for waiver of credit counseling with the court.


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Debtor 1     David B. Hawkins
Debtor 2     Karen E. Hawkins                                                           Case number (if known)


 Part 6:      Answer These Questions for Reporting Purposes
16. What kind of debts do you      16a.    Are your debts primarily consumer debts? Consumer debts are defined in 11 U.S.C. § 101(8)
    have?                                  as "incurred by an individual primarily for a personal, family, or household purpose."
                                                 No. Go to line 16b.
                                                 Yes. Go to line 17.

                                   16b.    Are your debts primarily business debts? Business debts are debts that you incurred to obtain
                                           money for a business or investment or through the operation of the business or investment.
                                                No. Go to line 16c.
                                                Yes. Go to line 17.

                                   16c.    State the type of debts you owe that are not consumer or business debts.


17. Are you filing under
    Chapter 7?                            No.    I am not filing under Chapter 7. Go to line 18.

    Do you estimate that after            Yes. I am filing under Chapter 7. Do you estimate that after any exempt property is excluded and
    any exempt property is                     administrative expenses are paid that funds will be available to distribute to unsecured creditors?
    excluded and
    administrative expenses                           No
    are paid that funds will be
                                                      Yes
    available for distribution
    to unsecured creditors?

18. How many creditors do                 1-49                              1,000-5,000                       25,001-50,000
    you estimate that you                 50-99                             5,001-10,000                      50,001-100,000
    owe?                                  100-199                           10,001-25,000                     More than 100,000
                                          200-999

19. How much do you                       $0-$50,000                        $1,000,001-$10 million            $500,000,001-$1 billion
    estimate your assets to               $50,001-$100,000                  $10,000,001-$50 million           $1,000,000,001-$10 billion
    be worth?                             $100,001-$500,000                 $50,000,001-$100 million          $10,000,000,001-$50 billion
                                          $500,001-$1 million               $100,000,001-$500 million         More than $50 billion

20. How much do you                       $0-$50,000                        $1,000,001-$10 million            $500,000,001-$1 billion
    estimate your liabilities to          $50,001-$100,000                  $10,000,001-$50 million           $1,000,000,001-$10 billion
    be?                                   $100,001-$500,000                 $50,000,001-$100 million          $10,000,000,001-$50 billion
                                          $500,001-$1 million               $100,000,001-$500 million         More than $50 billion




Official Form 101                         Voluntary Petition for Individuals Filing for Bankruptcy                                        page 6
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Debtor 1     David B. Hawkins
Debtor 2     Karen E. Hawkins                                                        Case number (if known)
                                                                                                               ---------------------
                    n Below
For you                         I have examined this petition, and I declare under penalty of perjury that the information provided is true
                                and correct.

                                'f I have chosen to file under Chapter 7, I am aware that I may proceed, if eligible, under Chapter 7, 11, 12,
                                or 13 of title 11, United States Code, I understand the relief available under each chapter, and I choose to
                                proceed under Chapter 7.

                                If no attorney represents me and I did not payor agree to pay someone who is not an attorney to help me
                                fill out this document, I have obtained and read the notice required by 11 U.S.C. § 342(b).

                                I request relief in accordance with the chapter of title 11, United States Code, specified in this petition.

                                I understand making a false statement, concealing property, or obtaining money or property by fraud in
                                connectio    it a ba ruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years,
                                or both. 8U ..C.     15,1341,1519,and3571.


                                x                                                           X   ~                 ~           ,
                                                                                                 aenE:HaWkins, Debtor~

                                    Executed on 03/26/2019                                      Executed on 03/26/2019
                                                MM/DD/YVYV                                                  MM/DD/YYVY




Official Form 101                    Voluntary Petition for Individuals Filing for Bankruptcy                                              page 7
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Debtor 1     David B. Hawkins
Debtor 2     Karen E. Hawkins                                                       Case number (if known)

For your attorney, if you are   I, the attorney for the debtor(s) named in this petition, declare that I have informed the debtor(s) about
represented by one              eligibility to proceed under Chapter 7, 11, 12, or 13 of title 11, United States Code, and have explained the
                                relief available under each chapter for which the person is eligible. I also certify that I have delivered to
If you are not represented by   the debtor(s) the notice required by 11 U.S.C. § 342(b) and, in a case in which § 707(b)(4)(D) applies,
an attorney, you do not need    certify that I have no knowledge after an inquiry that the information in the schedules filed with the petition
to file this page.              is incorrect.



                                X                                                                     Date 03/26/2019
                                    Signature of Attorney for Debtor                                       MM / DD / YYYY


                                    Brian Nomi
                                    Printed name
                                    Brian Nomi
                                    Firm Name
                                    215 E. Daily Dr., Ste. 28
                                    Number         Street




                                    Camarillo                                                 CA              93010
                                    City                                                      State           ZIP Code


                                    Contact phone (805) 444-5960                    Email address briannomi@yahoo.com


                                    203059                                                    CA
                                    Bar number                                                State




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                                               Certificate Number: 15317-CAC-CC-032346474


                                                              15317-CAC-CC-032346474




                    CERTIFICATE OF COUNSELING

I CERTIFY that on February 25, 2019, at 3:59 o'clock PM PST, Karen E Hawkins
received from Access Counseling, Inc., an agency approved pursuant to 11 U.S.C.
§ 111 to provide credit counseling in the Central District of California, an
individual [or group] briefing that complied with the provisions of 11 U.S.C. §§
109(h) and 111.
A debt repayment plan was not prepared. If a debt repayment plan was prepared, a
copy of the debt repayment plan is attached to this certificate.
This counseling session was conducted by internet.




Date:   February 25, 2019                      By:      /s/Madelyn Kotb


                                               Name: Madelyn Kotb


                                               Title:   Counselor




* Individuals who wish to file a bankruptcy case under title 11 of the United States Bankruptcy
Code are required to file with the United States Bankruptcy Court a completed certificate of
counseling from the nonprofit budget and credit counseling agency that provided the individual
the counseling services and a copy of the debt repayment plan, if any, developed through the
credit counseling agency. See 11 U.S.C. §§ 109(h) and 521(b).
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                                               Certificate Number: 15317-CAC-CC-032346404


                                                              15317-CAC-CC-032346404




                    CERTIFICATE OF COUNSELING

I CERTIFY that on February 25, 2019, at 3:51 o'clock PM PST, David B
Hawkins received from Access Counseling, Inc., an agency approved pursuant to
11 U.S.C. § 111 to provide credit counseling in the Central District of California,
an individual [or group] briefing that complied with the provisions of 11 U.S.C.
§§ 109(h) and 111.
A debt repayment plan was not prepared. If a debt repayment plan was prepared, a
copy of the debt repayment plan is attached to this certificate.
This counseling session was conducted by internet.




Date:   February 25, 2019                      By:      /s/Madelyn Kotb


                                               Name: Madelyn Kotb


                                               Title:   Counselor




* Individuals who wish to file a bankruptcy case under title 11 of the United States Bankruptcy
Code are required to file with the United States Bankruptcy Court a completed certificate of
counseling from the nonprofit budget and credit counseling agency that provided the individual
the counseling services and a copy of the debt repayment plan, if any, developed through the
credit counseling agency. See 11 U.S.C. §§ 109(h) and 521(b).
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                                 STATEMENT  OF RELATED
                                   Main Document         CASES
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                  INFORMATION REQUIRED BY LOCAL BANKRUPTCY RULE 1015-2
            UNITED STATES BANKRUPTCY COURT, CENTRAL DISTRICT OF CALIFORNIA

1.   A petition under the Bankruptcy Act of 1898 or the Bankruptcy Reform Act of 1978 has previously been filed by or against
     the debtor, his/her spouse, his or her current or former domestic partner, an affiliate of the debtor, any copartnership or
     joint venture of which debtor is or formerly was a general or limited partner, or member, or any corporation of which the
     debtor is a director, officer, or person in control, as follows: (Set forth the complete number and title of each such of prior
     proceeding, date filed, nature thereof, the Bankruptcy Judge and court to whom assigned, whether still pending and, if not,
     the disposition thereof. If none, so indicate. Also, list any real property included in Schedule A that was filed with any such
     prior proceeding(s).)
     Debtors filed a Chapter 7 Bankruptcy on 8/3/2010 (9:1 0-bk-14034). Case was discharged 12/6/2010.




2.   (If petitioner is a partnership or jOint venture) A petition under the Bankruptcy Act of 1898 or the Bankruptcy Reform Act
     of 1978 has previously been filed by or against the debtor or an affiliate of the debtor, or a general partner in the debtor,
     a relative of the general partner, general partner of, or person in control of the debtor, partnership in which the debtor is
     a general partner, general partner of the debtor, or person in control of the debtor as follows: (Set forth the complete
     number and title of each such prior proceeding, date filed, nature of the proceeding, the Bankruptcy Judge and court to
     whom assigned, whether still pending and, if not, the disposition thereof. If none, so indicate. Also, list any real property
     included in Schedule A that was filed with any such prior proceeding(s).)

     N/A.




3.   (If petitioner is a corporation) A petition under the Bankruptcy Act of 1898 or the Bankruptcy Reform Act of 1978 has
     previously been filed by or against the debtor, or any of its affiliates or subsidiaries, a director of the debtor, an officer of
     the debtor, a person in control of the debtor, a partnership in which the debtor is general partner, a general partner of the
     debtor, a relative of the general partner, director, officer, or person in control of the debtor, or any persons, firms or
     corporations owning 20% or more of its voting stock as follows: (Set forth the complete number and title of each such prior
     proceeding, date filed, nature of proceeding, the Bankruptcy Judge and court to whom assigned, whether still pending, and
     if not, the disposition thereof. If none, so indicate. Also, list any real property included in Schedule A that was filed with
     any such prior proceeding(s).)

     N/A.




4.   (If petitioner is an individual) A petition under the Bankruptcy Reform Act of 1978, including amendments thereof, has been
     filed by or against the debtor within the last 180 days: (Set forth the complete number and title of each such prior
     proceeding, date filed, nature of proceeding, the Bankruptcy Judge and court to whom assigned, whether still pending, and
     if not, the disposition thereof. If none, so indicate. Also, list any real property included in Schedule A that was filed with
     any such prior proceeding(s).)
     None.



                                                                                                                      \.
I declare, under penalty of perjury, that the foregOing is true and correct.

Executed at _C_a_m_a_ril_lo_ _ _ _ _ _ _ _, California.
                                                                               Debtor

Dated    3/22/19
                                                                                     ~
                                                                               Joint Debtor




                    This form is mandatory by Order of the United States Bankruptcy Court for the Central District of California.

January 2009                                                                                                                   F 1015-2.1
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 Fill in this information to identify your case:
 Debtor 1                David                         B.                            Hawkins
                         First Name                    Middle Name                   Last Name

 Debtor 2            Karen                             E.                            Hawkins
 (Spouse, if filing) First Name                        Middle Name                   Last Name


 United States Bankruptcy Court for the: CENTRAL DIST. OF CALIFORNIA

 Case number
                                                                                                                                                          Check if this is an
 (if known)
                                                                                                                                                          amended filing

Official Form 106Sum
Summary of Your Assets and Liabilities and Certain Statistical Information                                                                                                                    12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying
correct information. Fill out all of your schedules first; then complete the information on this form. If you are filing amended
schedules after you file your original forms, you must fill out a new Summary and check the box at the top of this page.



 Part 1:          Summarize Your Assets

                                                                                                                                                                     Your assets
                                                                                                                                                                     Value of what you own
1.   Schedule A/B: Property (Official Form 106A/B)
                                                                                                                                                                            $593,000.00
     1a. Copy line 55, Total real estate, from Schedule A/B.....................................................................................................................


                                                                                                                                                                         $28,050.00
     1b. Copy line 62, Total personal property, from Schedule A/B................................................................................................................................................


                                                                                                                                                                            $621,050.00
     1c. Copy line 63, Total of all property on Schedule A/B...........................................................................................................................................................


 Part 2:          Summarize Your Liabilities

                                                                                                                                                                        Your liabilities
                                                                                                                                                                        Amount you owe

2.   Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D)
                                                                                                                                          $512,146.00
     2a. Copy the total you listed in Column A, Amount of claim, at the bottom of the last page of Part 1 of Schedule D.........................

3.   Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 106E/F)
                                                                                                                                                                  $0.00
     3a. Copy the total claims from Part 1 (priority unsecured claims) from line 6e of Schedule E/F.................................................................................


                                                                                                                                    +                 $40,339.02
     3b. Copy the total claims from Part 2 (nonpriority unsecured claims) from line 6j of Schedule E/F........................................................



                                                                                                                                   Your total liabilities                         $552,485.02




 Part 3:          Summarize Your Income and Expenses

4.   Schedule I: Your Income (Official Form 106I)
                                                                                                                                                                         $5,882.40
     Copy your combined monthly income from line 12 of Schedule I..............................................................................................................................................

5.   Schedule J: Your Expenses (Official Form 106J)
     Copy your monthly expenses from line 22c of Schedule J.........................................................................................................                 $7,181.00




Official Form 106Sum                        Summary of Your Assets and Liabilities and Certain Statistical Information                                                                        page 1
           Case 9:19-bk-10605-DS                  Doc 1 Filed 04/02/19 Entered 04/02/19 11:30:28                                   Desc
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Debtor 1       David B. Hawkins
Debtor 2       Karen E. Hawkins                                                             Case number (if known)


 Part 4:         Answer These Questions for Administrative and Statistical Records

6.   Are you filing for bankruptcy under Chapters 7, 11, or 13?

            No. You have nothing to report on this part of the form. Check this box and submit this form to the court with your other schedules.
            Yes

7.   What kind of debt do you have?

            Your debts are primarily consumer debts. Consumer debts are those "incurred by an individual primarily for a personal,
            family, or household purpose." 11 U.S.C. § 101(8). Fill out lines 8-9g for statistical purposes. 28 U.S.C. § 159.
            Your debts are not primarily consumer debts. You have nothing to report on this part of the form. Check this box and submit
            this form to the court with your other schedules.

8.   From the Statement of Your Current Monthly Income: Copy your total current monthly income from
     Official Form 122A-1 Line 11; OR, Form 122B Line 11; OR, Form 122C-1 Line 14.                                                      $8,225.00


9.   Copy the following special categories of claims from Part 4, line 6 of Schedule E/F:

                                                                                                         Total claim

     From Part 4 on Schedule E/F, copy the following:

     9a. Domestic support obligations. (Copy line 6a.)                                                                 $0.00


     9b. Taxes and certain other debts you owe the government. (Copy line 6b.)                                         $0.00


     9c. Claims for death or personal injury while you were intoxicated. (Copy line 6c.)                               $0.00


     9d. Student loans. (Copy line 6f.)                                                                                $0.00


     9e. Obligations arising out of a separation agreement or divorce that you did not report as                       $0.00
         priority claims. (Copy line 6g.)

     9f.    Debts to pension or profit-sharing plans, and other similar debts. (Copy line 6h.)       +                 $0.00


     9g. Total.     Add lines 9a through 9f.                                                                           $0.00




Official Form 106Sum                Summary of Your Assets and Liabilities and Certain Statistical Information                                page 2
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  Fill in this information to identify your case and this filing:
  Debtor 1               David                       B.                   Hawkins
                         First Name                  Middle Name          Last Name

  Debtor 2            Karen                          E.                   Hawkins
  (Spouse, if filing) First Name                     Middle Name          Last Name


  United States Bankruptcy Court for the: CENTRAL DIST. OF CALIFORNIA

  Case number
                                                                                                                                    Check if this is an
  (if known)
                                                                                                                                    amended filing



Official Form 106A/B
Schedule A/B: Property                                                                                                                                       12/15

In each category, separately list and describe items. List an asset only once. If an asset fits in more than one category, list
the asset in the category where you think it fits best. Be as complete and accurate as possible. If two married people are
filing together, both are equally responsible for supplying correct information. If more space is needed, attach a separate
sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.


  Part 1:          Describe Each Residence, Building, Land, or Other Real Estate You Own or Have an Interest In

1.     Do you own or have any legal or equitable interest in any residence, building, land, or similar property?
            No. Go to Part 2.
            Yes. Where is the property?

1.1.                                                       What is the property?                             Do not deduct secured claims or exemptions. Put the
1026 Eston Street                                          Check all that apply.                             amount of any secured claims on Schedule D:
Street address, if available, or other description             Single-family home                            Creditors Who Have Claims Secured by Property.
                                                               Duplex or multi-unit building                 Current value of the            Current value of the
                                                               Condominium or cooperative                    entire property?                portion you own?
Camarillo                        CA       93010                Manufactured or mobile home                               $593,000.00                  $593,000.00
City                             State    ZIP Code             Land
                                                               Investment property                           Describe the nature of your ownership
                                                               Timeshare                                     interest (such as fee simple, tenancy by the
                                                               Other Camarillo House                         entireties, or a life estate), if known.
County
                                                                                                             Owner
                                                           Who has an interest in the property?
Camarillo House
                                                           Check one.
1026 Eston Street
                                                               Debtor 1 only                                      Check if this is community property
Camarillo, CA 93010
                                                               Debtor 2 only                                      (see instructions)
                                                               Debtor 1 and Debtor 2 only
                                                               At least one of the debtors and another

                                                           Other information you wish to add about this item, such as local
                                                           property identification number:

2.     Add the dollar value of the portion you own for all of your entries from Part 1, including any
       entries for pages you have attached for Part 1. Write that number here.............................................................            $593,000.00


  Part 2:          Describe Your Vehicles

Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? Include any vehicles
you own that someone else drives. If you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.


3.     Cars, vans, trucks, tractors, sport utility vehicles, motorcycles

           No
           Yes




Official Form 106A/B                                                   Schedule A/B: Property                                                                page 1
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Debtor 1         David B. Hawkins
Debtor 2         Karen E. Hawkins                                                                    Case number (if known)


3.1.                                                   Who has an interest in the property?                Do not deduct secured claims or exemptions. Put the
Make:                      Volkswagon                  Check one.                                          amount of any secured claims on Schedule D:
                                                            Debtor 1 only                                  Creditors Who Have Claims Secured by Property.
Model:                     Beetle
                                                            Debtor 2 only                           Current value of the                   Current value of the
Year:                      2008
                                                            Debtor 1 and Debtor 2 only              entire property?                       portion you own?
Approximate mileage:                                        At least one of the debtors and another             $4,500.00                             $4,500.00
Other information:
2008 Volkswagon Beetle                                      Check if this is community property
                                                            (see instructions)
3.2.                                                   Who has an interest in the property?                Do not deduct secured claims or exemptions. Put the
Make:                      Ford                        Check one.                                          amount of any secured claims on Schedule D:
                                                            Debtor 1 only                                  Creditors Who Have Claims Secured by Property.
Model:                     Transit Connect
                                                            Debtor 2 only                           Current value of the                   Current value of the
Year:                      2015
                                                            Debtor 1 and Debtor 2 only              entire property?                       portion you own?
Approximate mileage:                                        At least one of the debtors and another            $12,000.00                           $12,000.00
Other information:
2015 Ford Transit Connect                                   Check if this is community property
                                                            (see instructions)
3.3.                                                   Who has an interest in the property?                Do not deduct secured claims or exemptions. Put the
Make:                      Mercedes                    Check one.                                          amount of any secured claims on Schedule D:
                                                            Debtor 1 only                                  Creditors Who Have Claims Secured by Property.
Model:                     Metris
                                                            Debtor 2 only                           Current value of the                   Current value of the
Year:                      2016
                                                            Debtor 1 and Debtor 2 only              entire property?                       portion you own?
Approximate mileage:                                        At least one of the debtors and another                   $0.00                               $0.00
Other information:
2016 Mercedes Metris lease                                  Check if this is community property
                                                            (see instructions)
4.   Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
     Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories
           No
           Yes

5.   Add the dollar value of the portion you own for all of your entries from Part 2, including any
     entries for pages you have attached for Part 2. Write that number here.............................................................            $16,500.00


 Part 3:          Describe Your Personal and Household Items
                                                                                                                                           Current value of the
Do you own or have any legal or equitable interest in any of the following items?
                                                                                                                                           portion you own?
                                                                                                                                           Do not deduct secured
                                                                                                                                           claims or exemptions.

6.   Household goods and furnishings
     Examples: Major appliances, furniture, linens, china, kitchenware
           No
           Yes. Describe............
                               Television, furniture including tables, chairs, beds, and other household                                              $2,600.00
                                items.
7.   Electronics
     Examples: Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners;
                music collections; electronic devices including cell phones, cameras, media players, games
           No
           Yes. Describe............




Official Form 106A/B                                                 Schedule A/B: Property                                                                page 2
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Debtor 1          David B. Hawkins
Debtor 2          Karen E. Hawkins                                                                                                      Case number (if known)

8.    Collectibles of value
      Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects;
                 stamp, coin, or baseball card collections; other collections, memorabilia, collectibles
            No
            Yes. Describe............
                                Books, two artworks, music and movie discs.                                                                                                                                    $1,800.00

9.    Equipment for sports and hobbies
      Examples: Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis;
                canoes and kayaks; carpentry tools; musical instruments
            No
            Yes. Describe............
                                Woodworking tools                                                                                                                                                              $3,000.00

10. Firearms
    Examples: Pistols, rifles, shotguns, ammunition, and related equipment
            No
            Yes. Describe............

11. Clothes
    Examples: Everyday clothes, furs, leather coats, designer wear, shoes, accessories
            No
            Yes. Describe............
                                Personal clothing and shoes.                                                                                                                                                      $600.00

12. Jewelry
    Examples: Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems,
              gold, silver
            No
            Yes. Describe............
                                Wedding Rings & watch.                                                                                                                                                         $2,150.00

13. Non-farm animals
    Examples: Dogs, cats, birds, horses
            No
            Yes. Describe............
                                Three dogs.                                                                                                                                                                       $100.00

14. Any other personal and household items you did not already list, including any health aids you
    did not list
            No
            Yes. Give specific
            information......................

15. Add the dollar value of all of your entries from Part 3, including any entries for pages you have
    attached for Part 3. Write the number here.......................................................................................................................                                        $10,250.00


  Part 4:            Describe Your Financial Assets
                                                                                                                                                                                             Current value of the
Do you own or have any legal or equitable interest in any of the following?
                                                                                                                                                                                             portion you own?
                                                                                                                                                                                             Do not deduct secured
                                                                                                                                                                                             claims or exemptions.

16. Cash
    Examples: Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your
              petition
            No
            Yes.....................................................................................................................................................................................................
                                                                                                                                                     Cash: ...........................................




Official Form 106A/B                                                                         Schedule A/B: Property                                                                                                    page 3
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Debtor 1         David B. Hawkins
Debtor 2         Karen E. Hawkins                                                                     Case number (if known)

17. Deposits of money
    Examples: Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions,
              brokerage houses, and other similar institutions. If you have multiple accounts with the same
              institution, list each.

           No
           Yes..............................             Institution name:

            17.1.       Checking account:                US Bank checking account.                                                                $1,300.00
18. Bonds, mutual funds, or publicly traded stocks
    Examples: Bond funds, investment accounts with brokerage firms, money market accounts
           No
           Yes.............................. Institution or issuer name:

19. Non-publicly traded stock and interests in incorporated and unincorporated businesses, including
    an interest in an LLC, partnership, and joint venture
           No
           Yes. Give specific
           information about
           them...............................................
                                              Name of entity:                                                     % of ownership:
20. Government and corporate bonds and other negotiable and non-negotiable instruments
    Negotiable instruments include personal checks, cashiers' checks, promissory notes, and money orders.
    Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.
           No
           Yes. Give specific
           information about
           them...............................................
                                              Issuer name:
21. Retirement or pension accounts
    Examples: Interests in IRA, ERISA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or
              profit-sharing plans
           No
           Yes. List each
           account separately.             Type of account:           Institution name:
22. Security deposits and prepayments
    Your share of all unused deposits you have made so that you may continue service or use from a company
    Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications
    companies, or others

           No
           Yes..............................                       Institution name or individual:
23. Annuities (A contract for a specific periodic payment of money to you, either for life or for a number of years)
       No
       Yes.............................. Issuer name and description:
24. Interests in an education IRA, in an account in a qualified ABLE program, or under a qualified state tuition program.
    26 U.S.C. §§ 530(b)(1), 529A(b), and 529(b)(1).
           No
           Yes.............................. Institution name and description. Separately file the records of any interests. 11 U.S.C. § 521(c)
25. Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or
    powers exercisable for your benefit
           No
           Yes. Give specific
           information about them

26. Patents, copyrights, trademarks, trade secrets, and other intellectual property;
    Examples: Internet domain names, websites, proceeds from royalties and licensing agreements
           No
           Yes. Give specific
           information about them


Official Form 106A/B                                                         Schedule A/B: Property                                                   page 4
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Debtor 1        David B. Hawkins
Debtor 2        Karen E. Hawkins                                                               Case number (if known)

27. Licenses, franchises, and other general intangibles
    Examples: Building permits, exclusive licenses, cooperative association holdings, liquor licenses, professional licenses
           No
           Yes. Give specific
           information about them

Money or property owed to you?                                                                                                     Current value of the
                                                                                                                                   portion you own?
                                                                                                                                   Do not deduct secured
                                                                                                                                   claims or exemptions.

28. Tax refunds owed to you

           No
           Yes. Give specific information                                                                               Federal:
           about them, including whether
           you already filed the returns                                                                                State:
           and the tax years.....................................
                                                                                                                        Local:

29. Family support
    Examples: Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property settlement
           No
           Yes. Give specific information                                                                  Alimony:

                                                                                                           Maintenance:

                                                                                                           Support:

                                                                                                           Divorce settlement:

                                                                                                           Property settlement:

30. Other amounts someone owes you
    Examples: Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers'
              compensation, Social Security benefits; unpaid loans you made to someone else
           No
           Yes. Give specific information

31. Interests in insurance policies
    Examples: Health, disability, or life insurance; health savings account (HSA); credit, homeowner's, or renter's insurance
           No
           Yes. Name the insurance
           company of each policy
           and list its value................     Company name:                            Beneficiary:                      Surrender or refund value:
32. Any interest in property that is due you from someone who has died
    If you are the beneficiary of a living trust, expect proceeds from a life insurance policy, or are currently
    entitled to receive property because someone has died
           No
           Yes. Give specific information

33. Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
    Examples: Accidents, employment disputes, insurance claims, or rights to sue
           No
           Yes. Describe each claim..............

34. Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and
    rights to set off claims
           No
           Yes. Describe each claim..............




Official Form 106A/B                                                  Schedule A/B: Property                                                       page 5
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Debtor 2         Karen E. Hawkins                                                                                    Case number (if known)

35. Any financial assets you did not already list

            No
            Yes. Give specific information

36. Add the dollar value of all of your entries from Part 4, including any entries for pages you have
    attached for Part 4. Write that number here.......................................................................................................................     $1,300.00


  Part 5: Describe Any Business-Related Property You Own or Have an Interest In. List any real estate in Part 1.

37. Do you own or have any legal or equitable interest in any business-related property?

            No. Go to Part 6.
            Yes. Go to line 38.

                                                                                                                                                                 Current value of the
                                                                                                                                                                 portion you own?
                                                                                                                                                                 Do not deduct secured
                                                                                                                                                                 claims or exemptions.
38. Accounts receivable or commissions you already earned

            No
            Yes. Describe................

39. Office equipment, furnishings, and supplies
    Examples: Business-related computers, software, modems, printers, copiers, fax machines, rugs, telephones,
               desks, chairs, electronic devices
            No
            Yes. Describe................

40. Machinery, fixtures, equipment, supplies you use in business, and tools of your trade

            No
            Yes. Describe................

41. Inventory

            No
            Yes. Describe................

42. Interests in partnerships or joint ventures

            No
            Yes. Describe................
                                Name of entity:                                                                                       % of ownership:

43. Customer lists, mailing lists, or other compilations

            No
            Yes. Do your lists include personally identifiable information (as defined in 11 U.S.C. § 101(41A))?
                    No
                    Yes. Describe..............

44. Any business-related property you did not already list

            No
            Yes. Give specific information.

45. Add the dollar value of all of your entries from Part 5, including any entries for pages you have
    attached for Part 5. Write that number here.......................................................................................................................          $0.00




Official Form 106A/B                                                            Schedule A/B: Property                                                                           page 6
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Debtor 1          David B. Hawkins
Debtor 2          Karen E. Hawkins                                                                                   Case number (if known)


  Part 6: Describe Any Farm- and Commercial Fishing-Related Property You Own or Have an Interest In.
                If you own or have an interest in farmland, list it in Part 1.

46. Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?

            No. Go to Part 7.
            Yes. Go to line 47.

                                                                                                                                                                 Current value of the
                                                                                                                                                                 portion you own?
                                                                                                                                                                 Do not deduct secured
                                                                                                                                                                 claims or exemptions.
47. Farm animals
    Examples: Livestock, poultry, farm-raised fish
            No
            Yes............................

48. Crops--either growing or harvested

            No
            Yes. Give specific
            information..........................

49. Farm and fishing equipment, implements, machinery, fixtures, and tools of trade

            No
            Yes..............................

50. Farm and fishing supplies, chemicals, and feed

            No
            Yes..............................

51. Any farm- and commercial fishing-related property you did not already list

            No
            Yes. Give specific
            information..........................

52. Add the dollar value of all of your entries from Part 6, including any entries for pages you have
    attached for Part 6. Write that number here.......................................................................................................................          $0.00


  Part 7: Describe All Property You Own or Have an Interest in That You Did Not List Above

53. Do you have other property of any kind you did not already list?
    Examples: Season tickets, country club membership

            No
            Yes. Give specific information.


54. Add the dollar value of all of your entries from Part 7. Write that number here.................................................                                            $0.00




Official Form 106A/B                                                            Schedule A/B: Property                                                                           page 7
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Debtor 1           David B. Hawkins
Debtor 2           Karen E. Hawkins                                                                                           Case number (if known)


  Part 8: List the Totals of Each Part of this Form

55. Part 1: Total real estate, line 2..............................................................................................................................................    $593,000.00

56. Part 2: Total vehicles, line 5                                                                                  $16,500.00

57. Part 3: Total personal and household items, line 15                                                             $10,250.00

58. Part 4: Total financial assets, line 36                                                                           $1,300.00

59. Part 5: Total business-related property, line 45                                                                         $0.00

60. Part 6: Total farm- and fishing-related property, line 52                                                                $0.00

61. Part 7: Total other property not listed, line 54                                               +                         $0.00

                                                                                                                                            Copy personal
62. Total personal property.                   Add lines 56 through 61.................................             $28,050.00              property total                 +            $28,050.00



63. Total of all property on Schedule A/B.                                                                                                                                                  $621,050.00
                                                                    Add line 55 + line 62.......................................................................................................




Official Form 106A/B                                                                  Schedule A/B: Property                                                                                   page 8
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 Fill in this information to identify your case:
 Debtor 1            David                B.                     Hawkins
                     First Name           Middle Name            Last Name
 Debtor 2            Karen                E.                     Hawkins
 (Spouse, if filing) First Name           Middle Name            Last Name

 United States Bankruptcy Court for the: CENTRAL DIST. OF CALIFORNIA
                                                                                                                     Check if this is an
 Case number                                                                                                         amended filing
 (if known)

Official Form 106C
Schedule C: The Property You Claim as Exempt                                                                                                04/16

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information.
Using the property you listed on Schedule A/B: Property (Official Form 106A/B) as your source, list the property that you claim as exempt. If more
space is needed, fill out and attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages,
write your name and case number (if known).

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so
is to state a specific dollar amount as exempt. Alternatively, you may claim the full fair market value of the property being
exempted up to the amount of any applicable statutory limit. Some exemptions--such as those for health aids, rights to
receive certain benefits, and tax-exempt retirement funds--may be unlimited in dollar amount. However, if you claim an
exemption of 100% of fair market value under a law that limits the exemption to a particular dollar amount and the value of the
property is determined to exceed that amount, your exemption would be limited to the applicable statutory amount.


 Part 1:        Identify the Property You Claim as Exempt

1.   Which set of exemptions are you claiming?             Check one only, even if your spouse is filing with you.
          You are claiming state and federal nonbankruptcy exemptions. 11 U.S.C. § 522(b)(3)
          You are claiming federal exemptions. 11 U.S.C. § 522(b)(2)

2.   For any property you list on Schedule A/B that you claim as exempt, fill in the information below.

Brief description of the property and line on           Current value of     Amount of the                Specific laws that allow exemption
Schedule A/B that lists this property                   the portion you      exemption you claim
                                                        own
                                                        Copy the value from Check only one box for
                                                        Schedule A/B        each exemption


Brief description:                                        $593,000.00                 $100,000.00         C.C.P. § 704.730
Camarillo House                                                                   100% of fair market
1026 Eston Street                                                                 value, up to any
Camarillo, CA 93010                                                               applicable statutory
Line from Schedule A/B:      1.1                                                  limit

Brief description:                                          $4,500.00                  $2,725.00          C.C.P. § 704.010
2008 Volkswagon Beetle                                                            100% of fair market
                                                                                  value, up to any
Line from Schedule A/B:      3.1
                                                                                  applicable statutory
                                                                                  limit




3.   Are you claiming a homestead exemption of more than $160,375?
     (Subject to adjustment on 4/01/19 and every 3 years after that for cases filed on or after the date of adjustment.)

          No
          Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?
              No
              Yes

Official Form 106C                               Schedule C: The Property You Claim as Exempt                                               page 1
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Debtor 2      Karen E. Hawkins                                                       Case number (if known)

 Part 2:        Additional Page
Brief description of the property and line on       Current value of    Amount of the               Specific laws that allow exemption
Schedule A/B that lists this property               the portion you     exemption you claim
                                                    own
                                                    Copy the value from Check only one box for
                                                    Schedule A/B        each exemption

Brief description:                                     $12,000.00                   $0.00           C.C.P. § 704.010
2015 Ford Transit Connect                                                    100% of fair market
                                                                             value, up to any
Line from Schedule A/B:    3.2
                                                                             applicable statutory
                                                                             limit

Brief description:                                        $0.00                     $0.00           C.C.P. § 704.010
2016 Mercedes Metris lease                                                   100% of fair market
                                                                             value, up to any
Line from Schedule A/B:    3.3
                                                                             applicable statutory
                                                                             limit

Brief description:                                      $2,600.00                $2,600.00          C.C.P. § 704.020
Television, furniture including tables,                                      100% of fair market
chairs, beds, and other household items.                                     value, up to any
Line from Schedule A/B:   6                                                  applicable statutory
                                                                             limit

Brief description:                                      $1,800.00                $1,800.00          C.C.P. § 704.020
Books, two artworks, music and movie                                         100% of fair market
discs.                                                                       value, up to any
Line from Schedule A/B: 8                                                    applicable statutory
                                                                             limit

Brief description:                                      $3,000.00                $3,000.00          C.C.P. § 704.060(a)(1)
Woodworking tools                                                            100% of fair market
                                                                             value, up to any
Line from Schedule A/B:     9
                                                                             applicable statutory
                                                                             limit

Brief description:                                      $2,150.00                $2,150.00          C.C.P. § 704.040
Wedding Rings & watch.                                                       100% of fair market
                                                                             value, up to any
Line from Schedule A/B:    12
                                                                             applicable statutory
                                                                             limit

Brief description:                                      $1,300.00                 $975.00           C.C.P. § 704.070
US Bank checking account.                                                    100% of fair market
                                                                             value, up to any
Line from Schedule A/B:   17.1
                                                                             applicable statutory
                                                                             limit




Official Form 106C                              Schedule C: The Property You Claim as Exempt                                         page 2
          Case 9:19-bk-10605-DS                     Doc 1 Filed 04/02/19 Entered 04/02/19 11:30:28                                     Desc
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  Fill in this information to identify your case:
  Debtor 1             David                 B.                     Hawkins
                       First Name            Middle Name            Last Name

  Debtor 2            Karen                  E.                     Hawkins
  (Spouse, if filing) First Name             Middle Name            Last Name


  United States Bankruptcy Court for the: CENTRAL DIST. OF CALIFORNIA

  Case number
                                                                                                                        Check if this is an
  (if known)
                                                                                                                        amended filing

Official Form 106D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                      12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying
correct information. If more space is needed, copy the Additional Page, fill it out, number the entries, and attach it to this form.
On the top of any additional pages, write your name and case number (if known).


1.      Do any creditors have claims secured by your property?
             No. Check this box and submit this form to the court with your other schedules. You have nothing else to report on this form.
             Yes. Fill in all of the information below.


  Part 1:         List All Secured Claims

2.      List all secured claims. If a creditor has more than one secured
        claim, list the creditor separately for each claim. If more than one              Column A               Column B               Column C
        creditor has a particular claim, list the other creditors in Part 2. As           Amount of claim        Value of collateral    Unsecured
        much as possible, list the claims in alphabetical order according to the          Do not deduct the      that supports this     portion
        creditor's name.                                                                  value of collateral    claim                  If any

  2.1                                             Describe the property that
                                                  secures the claim:                            $41,000.00             $593,000.00
Baxter Credit Union
Creditor's name
                                                  Camarillo House
340 N Milwaukee Ave.
Number       Street


                                                  As of the date you file, the claim is: Check all that apply.
                                                      Contingent
Vernon Hills             IL      60061                Unliquidated
City                     State   ZIP Code
                                                      Disputed
Who owes the debt? Check one.              Nature of lien. Check all that apply.
   Debtor 1 only
                                              An agreement you made (such as mortgage or secured car loan)
   Debtor 2 only
                                              Statutory lien (such as tax lien, mechanic's lien)
   Debtor 1 and Debtor 2 only
                                              Judgment lien from a lawsuit
   At least one of the debtors and another
                                              Other (including a right to offset)
   Check if this claim relates                Non-Purchase Money
   to a community debt
Date debt was incurred                            Last 4 digits of account number        0     3    0    0




Add the dollar value of your entries in Column A on this page. Write
that number here:                                                                               $41,000.00

Official Form 106D                          Schedule D: Creditors Who Have Claims Secured by Property                                          page 1
         Case 9:19-bk-10605-DS                  Doc 1 Filed 04/02/19 Entered 04/02/19 11:30:28                                     Desc
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Debtor 1      David B. Hawkins
Debtor 2      Karen E. Hawkins                                                            Case number (if known)

                  Additional Page                                                     Column A               Column B              Column C
  Part 1:                                                                             Amount of claim        Value of collateral   Unsecured
                  After listing any entries on this page, number them
                                                                                      Do not deduct the      that supports this    portion
                  sequentially from the previous page.
                                                                                      value of collateral    claim                 If any

  2.2                                         Describe the property that
                                              secures the claim:                           $450,000.00             $593,000.00
Macquarie Mortgages Us                        Camarillo House
Creditor's name
3451 Hammond Avenue
Number     Street


                                              As of the date you file, the claim is: Check all that apply.
                                                  Contingent
Waterloo                IA      50702             Unliquidated
City                    State   ZIP Code
                                                  Disputed
Who owes the debt? Check one.              Nature of lien. Check all that apply.
   Debtor 1 only
                                              An agreement you made (such as mortgage or secured car loan)
   Debtor 2 only
                                              Statutory lien (such as tax lien, mechanic's lien)
   Debtor 1 and Debtor 2 only
                                              Judgment lien from a lawsuit
   At least one of the debtors and another
                                              Other (including a right to offset)
   Check if this claim relates                Purchase Money
   to a community debt
Date debt was incurred                        Last 4 digits of account number        2     4    2    1

  2.3                                         Describe the property that
                                              secures the claim:                            $17,550.00              $12,000.00         $5,550.00
Ventura County Credit Union
Creditor's name
                                              2015 Ford Transit Connect
2575 Vista Del Mar Drive
Number     Street
Suite 100
                                              As of the date you file, the claim is: Check all that apply.
                                                  Contingent
Ventura                 CA      93001             Unliquidated
City                    State   ZIP Code
                                                  Disputed
Who owes the debt? Check one.              Nature of lien. Check all that apply.
   Debtor 1 only
                                              An agreement you made (such as mortgage or secured car loan)
   Debtor 2 only
                                              Statutory lien (such as tax lien, mechanic's lien)
   Debtor 1 and Debtor 2 only
                                              Judgment lien from a lawsuit
   At least one of the debtors and another
                                              Other (including a right to offset)
   Check if this claim relates                Automobile
   to a community debt
Date debt was incurred          04/2016       Last 4 digits of account number        0     6    0    1




Add the dollar value of your entries in Column A on this page. Write
that number here:                                                                          $467,550.00

Official Form 106D                Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                            page 2
         Case 9:19-bk-10605-DS                  Doc 1 Filed 04/02/19 Entered 04/02/19 11:30:28                                     Desc
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Debtor 1      David B. Hawkins
Debtor 2      Karen E. Hawkins                                                            Case number (if known)

                  Additional Page                                                     Column A               Column B              Column C
  Part 1:                                                                             Amount of claim        Value of collateral   Unsecured
                  After listing any entries on this page, number them
                                                                                      Do not deduct the      that supports this    portion
                  sequentially from the previous page.
                                                                                      value of collateral    claim                 If any

  2.4                                         Describe the property that
                                              secures the claim:                               $3,596.00                  $0.00        $3,596.00
Ventura County Credit Union                   Mercedes Metris
Creditor's name
2575 Vista Del Mar Drive
Number     Street
Suite 100
                                              As of the date you file, the claim is: Check all that apply.
                                                  Contingent
Ventura                 CA      93001             Unliquidated
City                    State   ZIP Code
                                                  Disputed
Who owes the debt? Check one.              Nature of lien. Check all that apply.
   Debtor 1 only
                                              An agreement you made (such as mortgage or secured car loan)
   Debtor 2 only
                                              Statutory lien (such as tax lien, mechanic's lien)
   Debtor 1 and Debtor 2 only
                                              Judgment lien from a lawsuit
   At least one of the debtors and another
                                              Other (including a right to offset)
   Check if this claim relates                Automobile
   to a community debt
Date debt was incurred          05/2015       Last 4 digits of account number        0     6    0    0




Add the dollar value of your entries in Column A on this page. Write
that number here:                                                                              $3,596.00

If this is the last page of your form, add the dollar value totals from
all pages. Write that number here:                                                         $512,146.00

Official Form 106D                Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                            page 3
           Case 9:19-bk-10605-DS                     Doc 1 Filed 04/02/19 Entered 04/02/19 11:30:28                                    Desc
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  Fill in this information to identify your case:
  Debtor 1             David                 B.                     Hawkins
                       First Name            Middle Name            Last Name

  Debtor 2            Karen                  E.                     Hawkins
  (Spouse, if filing) First Name             Middle Name            Last Name


  United States Bankruptcy Court for the: CENTRAL DIST. OF CALIFORNIA

  Case number
                                                                                                                        Check if this is an
  (if known)
                                                                                                                        amended filing

Official Form 106E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                   12/15

Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY claims and Part 2 for creditors with NONPRIORITY
claims. List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts
on Schedule A/B: Property (Official Form 106A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G).
Do not include any creditors with partially secured claims that are listed in Schedule D: Creditors Who Hold Claims Secured by Property.
If more space is needed, copy the Part you need, fill it out, number the entries in the boxes on the left. Attach the Continuation Page
to this page. On the top of any additional pages, write your name and case number (if known).


  Part 1:        List All of Your PRIORITY Unsecured Claims
1.     Do any creditors have priority unsecured claims against you?
            No. Go to Part 2.
            Yes.

2.     List all of your priority unsecured claims. If a creditor has more than one priority unsecured claim, list the creditor separately for each
       claim. For each claim listed, identify what type of claim it is. If a claim has both priority and nonpriority amounts, list that claim here and
       show both priority and nonpriority amounts. As much as possible, list the claims in alphabetical order according to the creditor's name. If
       more space is needed for priority unsecured claims, fill out the Continuation Page of Part 1. If more than one creditor holds a particular
       claim, list the other creditors in Part 3.

       (For an explanation of each type of claim, see the instructions for this form in the instruction booklet.
                                                                                                      Total claim       Priority              Nonpriority
                                                                                                                        amount                amount

     2.1


Priority Creditor's Name                                   Last 4 digits of account number
                                                           When was the debt incurred?
Number       Street
                                                           As of the date you file, the claim is: Check all that apply.
                                                               Contingent
                                                               Unliquidated
                                                               Disputed
City                            State   ZIP Code
Who incurred the debt?        Check one.                   Type of PRIORITY unsecured claim:
     Debtor 1 only                                            Domestic support obligations
     Debtor 2 only                                            Taxes and certain other debts you owe the government
     Debtor 1 and Debtor 2 only                               Claims for death or personal injury while you were
     At least one of the debtors and another                  intoxicated
     Check if this claim is for a community debt              Other. Specify
Is the claim subject to offset?
     No
     Yes




Official Form 106E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                                 page 1
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Debtor 1       David B. Hawkins
Debtor 2       Karen E. Hawkins                                                                 Case number (if known)

  Part 2:        List All of Your NONPRIORITY Unsecured Claims

3.     Do any creditors have nonpriority unsecured claims against you?
            No. You have nothing to report in this part. Submit this form to the court with your other schedules.
            Yes

4.     List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim.
       If a creditor has more than one nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what
       type of claim it is. Do not list claims already included in Part 1. If more than one creditor holds a particular claim, list the other creditors in
       Part 3. If more space is needed for nonpriority unsecured claims, fill out the Continuation Page of Part 2.

                                                                                                                                              Total claim

     4.1                                                                                                                                               $0.00
Ally Financial                                              Last 4 digits of account number         2 1        0     1
Nonpriority Creditor's Name
                                                            When was the debt incurred?           05/2003
Attn: Bankruptcy Dept
Number        Street                                        As of the date you file, the claim is: Check all that apply.
PO Box 380901                                                   Contingent
                                                                Unliquidated
                                                                Disputed
Bloomington                     MN      55438
City                            State   ZIP Code            Type of NONPRIORITY unsecured claim:
Who incurred the debt?      Check one.
                                                               Student loans
   Debtor 1 only
                                                               Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                               that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                               Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                               Other. Specify
       Check if this claim is for a community debt               Automobile
Is the claim subject to offset?
     No
     Yes

     4.2                                                                                                                                               $0.00
Bank Of America                                             Last 4 digits of account number         0 5 8            6
Nonpriority Creditor's Name
                                                            When was the debt incurred?           08/03/2004
Attn: Bankruptcy
Number        Street                                        As of the date you file, the claim is: Check all that apply.
PO Box 982238                                                   Contingent
                                                                Unliquidated
                                                                Disputed
El Paso                         TX      79998
City                            State   ZIP Code            Type of NONPRIORITY unsecured claim:
Who incurred the debt?      Check one.
                                                               Student loans
   Debtor 1 only
                                                               Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                               that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                               Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                               Other. Specify
       Check if this claim is for a community debt               Unknown Loan Type
Is the claim subject to offset?
     No
     Yes




Official Form 106E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                                  page 2
          Case 9:19-bk-10605-DS                    Doc 1 Filed 04/02/19 Entered 04/02/19 11:30:28                               Desc
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Debtor 1       David B. Hawkins
Debtor 2       Karen E. Hawkins                                                            Case number (if known)

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                 Total claim
previous page.

   4.3                                                                                                                                  $0.00
Bank Of America                                          Last 4 digits of account number      5 9 3           7
Nonpriority Creditor's Name
                                                         When was the debt incurred?        08/22/2006
4909 Savarese Circle
Number        Street                                     As of the date you file, the claim is: Check all that apply.
FL1-908-01-50                                                Contingent
                                                             Unliquidated
                                                             Disputed
Tampa                         FL      33634
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt?      Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Credit Card
Is the claim subject to offset?
     No
     Yes

   4.4                                                                                                                                  $0.00
Baxter Ecu/BCU                                           Last 4 digits of account number      0 7 0           1
Nonpriority Creditor's Name
                                                         When was the debt incurred?        06/13/2007
Attn: Bankruptcy
Number        Street                                     As of the date you file, the claim is: Check all that apply.
PO Box 8133                                                  Contingent
                                                             Unliquidated
                                                             Disputed
Vernon Hills                  IL      60061
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt?      Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Check Credit or Line of Credit
Is the claim subject to offset?
     No
     Yes

   4.5                                                                                                                                  $0.00
BB&T                                                     Last 4 digits of account number      8 7        0    3
Nonpriority Creditor's Name
                                                         When was the debt incurred?        12/2014
Attn: Bankruptcy
Number        Street                                     As of the date you file, the claim is: Check all that apply.
PO Box 1847                                                  Contingent
                                                             Unliquidated
                                                             Disputed
Wilson                        NC      27894
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt?      Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Secured
Is the claim subject to offset?
     No
     Yes


Official Form 106E/F                             Schedule E/F: Creditors Who Have Unsecured Claims                                      page 3
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Debtor 1       David B. Hawkins
Debtor 2       Karen E. Hawkins                                                            Case number (if known)

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                 Total claim
previous page.

   4.6                                                                                                                                 ($1.00)
Bsi Financial Services                                   Last 4 digits of account number      2 4        2    1
Nonpriority Creditor's Name
                                                         When was the debt incurred?        02/2006
10523 N Oak Hills Pkwy
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
Baton Rouge                   LA      70810
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt?      Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Credit Line Secured
Is the claim subject to offset?
     No
     Yes

   4.7                                                                                                                              $7,138.00
Capital One                                              Last 4 digits of account number      2 4        8    7
Nonpriority Creditor's Name
                                                         When was the debt incurred?        03/2013
Attn: Bankruptcy
Number        Street                                     As of the date you file, the claim is: Check all that apply.
PO Box 30285                                                 Contingent
                                                             Unliquidated
                                                             Disputed
Salt Lake City                UT      84130
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt?      Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Credit Card
Is the claim subject to offset?
     No
     Yes

   4.8                                                                                                                              $5,835.00
Capital One                                              Last 4 digits of account number      1 9        7    6
Nonpriority Creditor's Name
                                                         When was the debt incurred?        04/2012
Attn: Bankruptcy
Number        Street                                     As of the date you file, the claim is: Check all that apply.
PO Box 30285                                                 Contingent
                                                             Unliquidated
                                                             Disputed
Salt Lake City                UT      84130
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt?      Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Credit Card
Is the claim subject to offset?
     No
     Yes


Official Form 106E/F                             Schedule E/F: Creditors Who Have Unsecured Claims                                      page 4
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Debtor 1       David B. Hawkins
Debtor 2       Karen E. Hawkins                                                            Case number (if known)

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                 Total claim
previous page.

   4.9                                                                                                                              $1,264.00
Capital One                                              Last 4 digits of account number      1 1        9    3
Nonpriority Creditor's Name
                                                         When was the debt incurred?        11/2014
Attn: Bankruptcy
Number        Street                                     As of the date you file, the claim is: Check all that apply.
PO Box 30285                                                 Contingent
                                                             Unliquidated
                                                             Disputed
Salt Lake City                UT      84130
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt?      Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Credit Card
Is the claim subject to offset?
     No
     Yes

  4.10                                                                                                                                  $0.00
Chase Card Services                                      Last 4 digits of account number      9 7        0    0
Nonpriority Creditor's Name
                                                         When was the debt incurred?        05/2003
Attn: Bankruptcy
Number        Street                                     As of the date you file, the claim is: Check all that apply.
PO Box 15298                                                 Contingent
                                                             Unliquidated
                                                             Disputed
Wilmington                    DE      19850
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt?      Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Credit Card
Is the claim subject to offset?
     No
     Yes

  4.11                                                                                                                                  $0.00
Citibank/The Home Depot                                  Last 4 digits of account number      5 4        4    6
Nonpriority Creditor's Name
                                                         When was the debt incurred?        05/2001
Attn: Recovery/Centralized Bankruptcy
Number        Street                                     As of the date you file, the claim is: Check all that apply.
PO Box 790034                                                Contingent
                                                             Unliquidated
                                                             Disputed
St Louis                      MO      63179
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt?      Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Charge Account
Is the claim subject to offset?
     No
     Yes


Official Form 106E/F                             Schedule E/F: Creditors Who Have Unsecured Claims                                      page 5
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Debtor 1       David B. Hawkins
Debtor 2       Karen E. Hawkins                                                            Case number (if known)

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                 Total claim
previous page.

  4.12                                                                                                                                  $0.00
Credit One Bank                                          Last 4 digits of account number      5 2        1    9
Nonpriority Creditor's Name
                                                         When was the debt incurred?        06/2014
ATTN: Bankruptcy Department
Number        Street                                     As of the date you file, the claim is: Check all that apply.
PO Box 98873                                                 Contingent
                                                             Unliquidated
                                                             Disputed
Las Vegas                     NV      89193
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt?      Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Credit Card
Is the claim subject to offset?
     No
     Yes

  4.13                                                                                                                                 $46.00
DSRM Nat Bank/Valero                                     Last 4 digits of account number      0 0 0           0
Nonpriority Creditor's Name
                                                         When was the debt incurred?        09/29/2016
Attn: Bankruptcy
Number        Street                                     As of the date you file, the claim is: Check all that apply.
PO Box 696000                                                Contingent
                                                             Unliquidated
                                                             Disputed
San Antonio                   TX      78260
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt?      Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Charge Account
Is the claim subject to offset?
     No
     Yes

  4.14                                                                                                                              $4,108.00
Fidelity Creditor Service                                Last 4 digits of account number      8 5        8    3
Nonpriority Creditor's Name
                                                         When was the debt incurred?        05/2018
Attn: Bankruptcy
Number        Street                                     As of the date you file, the claim is: Check all that apply.
441 North Varney Street                                      Contingent
                                                             Unliquidated
                                                             Disputed
Burbank                       CA      91502
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt?      Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Collection Attorney
Is the claim subject to offset?
     No
     Yes


Official Form 106E/F                             Schedule E/F: Creditors Who Have Unsecured Claims                                      page 6
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Debtor 1       David B. Hawkins
Debtor 2       Karen E. Hawkins                                                            Case number (if known)

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                 Total claim
previous page.

  4.15                                                                                                                              $7,138.02
Hunt & Henriques                                         Last 4 digits of account number       L    V    T    A
Nonpriority Creditor's Name
                                                         When was the debt incurred?
151 Bernal Rd., Suite 8
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
San Jose                      CA      95119-1306
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt?      Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Notice Only
Is the claim subject to offset?
     No
     Yes

  4.16                                                                                                                              $7,706.00
Mercury/FBT                                              Last 4 digits of account number      7 6        8    2
Nonpriority Creditor's Name
                                                         When was the debt incurred?        11/2014
Attn: Bankruptcy
Number        Street                                     As of the date you file, the claim is: Check all that apply.
PO Box 84064                                                 Contingent
                                                             Unliquidated
                                                             Disputed
Columbus                      GA      31908
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt?      Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Credit Card
Is the claim subject to offset?
     No
     Yes

  4.17                                                                                                                              $1,353.00
Patenaude & Felix                                        Last 4 digits of account number
Nonpriority Creditor's Name
                                                         When was the debt incurred?
4545 Murphy Canyon Rd. 3rd Floor
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
San Diego                     CA      92123
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt?      Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Collecting for -Sync Bank
Is the claim subject to offset?
     No
     Yes


Official Form 106E/F                             Schedule E/F: Creditors Who Have Unsecured Claims                                      page 7
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Debtor 1       David B. Hawkins
Debtor 2       Karen E. Hawkins                                                            Case number (if known)

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                 Total claim
previous page.

  4.18                                                                                                                                  $0.00
Synchrony Bank/Lowes                                     Last 4 digits of account number      5 1        5    0
Nonpriority Creditor's Name
                                                         When was the debt incurred?        05/2005
Attn: Bankruptcy
Number        Street                                     As of the date you file, the claim is: Check all that apply.
PO Box 965060                                                Contingent
                                                             Unliquidated
                                                             Disputed
Orlando                       FL      32896
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt?      Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Charge Account
Is the claim subject to offset?
     No
     Yes

  4.19                                                                                                                              $1,353.00
Synchrony Bank/Walmart                                   Last 4 digits of account number      2 0        4    0
Nonpriority Creditor's Name
                                                         When was the debt incurred?        11/2015
Attn: Bankruptcy
Number        Street                                     As of the date you file, the claim is: Check all that apply.
PO Box 965060                                                Contingent
                                                             Unliquidated
                                                             Disputed
Orlando                       FL      32896
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt?      Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Charge Account
Is the claim subject to offset?
     No
     Yes

  4.20                                                                                                                                  $0.00
Target                                                   Last 4 digits of account number      4 7        4    9
Nonpriority Creditor's Name
                                                         When was the debt incurred?        05/2004
Attn: Bankruptcy
Number        Street                                     As of the date you file, the claim is: Check all that apply.
PO Box 9475                                                  Contingent
                                                             Unliquidated
                                                             Disputed
Minneapolis                   MN      55440
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt?      Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Credit Card
Is the claim subject to offset?
     No
     Yes


Official Form 106E/F                             Schedule E/F: Creditors Who Have Unsecured Claims                                      page 8
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Debtor 1       David B. Hawkins
Debtor 2       Karen E. Hawkins                                                            Case number (if known)

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                 Total claim
previous page.

  4.21                                                                                                                              $4,399.00
Ventura County Credit Union                              Last 4 digits of account number      0 8        0    5
Nonpriority Creditor's Name
                                                         When was the debt incurred?        03/2015
2575 Vista Del Mar Drive
Number        Street                                     As of the date you file, the claim is: Check all that apply.
Suite 100                                                    Contingent
                                                             Unliquidated
                                                             Disputed
Ventura                       CA      93001
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt?      Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Credit Card
Is the claim subject to offset?
     No
     Yes




Official Form 106E/F                             Schedule E/F: Creditors Who Have Unsecured Claims                                      page 9
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Debtor 1       David B. Hawkins
Debtor 2       Karen E. Hawkins                                                        Case number (if known)

 Part 4:        Add the Amounts for Each Type of Unsecured Claim

6.   Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes only.
     28 U.S.C. § 159. Add the amounts for each type of unsecured claim.


                                                                                                               Total claim

Total claims      6a. Domestic support obligations                                                   6a.                     $0.00
from Part 1
                  6b. Taxes and certain other debts you owe the government                           6b.                     $0.00

                  6c. Claims for death or personal injury while you were intoxicated                 6c.                     $0.00

                  6d. Other. Add all other priority unsecured claims. Write that amount here.        6d.   +                 $0.00


                  6e. Total.     Add lines 6a through 6d.                                            6d.                     $0.00




                                                                                                               Total claim

Total claims      6f.   Student loans                                                                6f.                     $0.00
from Part 2
                  6g. Obligations arising out of a separation agreement or divorce                   6g.                     $0.00
                      that you did not report as priority claims

                  6h. Debts to pension or profit-sharing plans, and other similar                    6h.                     $0.00
                      debts

                  6i.   Other. Add all other nonpriority unsecured claims. Write that amount here.   6i.   +         $40,339.02


                  6j.   Total.   Add lines 6f through 6i.                                            6j.             $40,339.02




Official Form 106E/F                          Schedule E/F: Creditors Who Have Unsecured Claims                                             page 10
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 Fill in this information to identify your case:
 Debtor 1            David                B.                     Hawkins
                     First Name           Middle Name            Last Name

 Debtor 2            Karen                E.                     Hawkins
 (Spouse, if filing) First Name           Middle Name            Last Name


 United States Bankruptcy Court for the: CENTRAL DIST. OF CALIFORNIA

 Case number
                                                                                                                    Check if this is an
 (if known)
                                                                                                                    amended filing

Official Form 106G
Schedule G: Executory Contracts and Unexpired Leases                                                                                             12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying
correct information. If more space is needed, copy the additional page, fill it out, number the entries, and attach it to this page.
On the top of any additional pages, write your name and case number (if known).


1.   Do you have any executory contracts or unexpired leases?
          No. Check this box and file this form with the court with your other schedules. You have nothing else to report on this form.
          Yes. Fill in all of the information below even if the contracts or leases are listed on Schedule A/B: Property (Official Form 106A/B).

2.   List separately each person or company with whom you have the contract or lease. Then state what each contract or lease
     is for (for example, rent, vehicle lease, cell phone). See the instructions for this form in the instruction booklet for more examples of
     executory contracts and unexpired leases.

        Person or company with whom you have the contract or lease                   State what the contract or lease is for




Official Form 106G                          Schedule G: Executory Contracts and Unexpired Leases                                                 page 1
       Case 9:19-bk-10605-DS                        Doc 1 Filed 04/02/19 Entered 04/02/19 11:30:28                                     Desc
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 Fill in this information to identify your case:
 Debtor 1             David                  B.                          Hawkins
                      First Name             Middle Name                 Last Name

 Debtor 2            Karen                   E.                          Hawkins
 (Spouse, if filing) First Name              Middle Name                 Last Name


 United States Bankruptcy Court for the: CENTRAL DIST. OF CALIFORNIA

 Case number
                                                                                                                        Check if this is an
 (if known)
                                                                                                                        amended filing



Official Form 106H
Schedule H: Your Codebtors                                                                                                                        12/15

Codebtors are people or entities who are also liable for any debts you may have. Be as complete and accurate as possible. If
two married people are filing together, both are equally responsible for supplying correct information. If more space is
needed, copy the Additional Page, fill it out, and number the entries in the boxes on the left. Attach the Additional Page to this
page. On the top of any Additional Pages, write your name and case number (if known). Answer every question.


1.   Do you have any codebtors?          (If you are filing a joint case, do not list either spouse as a codebtor.)
         No
         Yes

2.   Within the last 8 years, have you lived in a community property state or territory? (Community property states and territories
     include Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)
          No. Go to line 3.
          Yes. Did your spouse, former spouse, or legal equivalent live with you at the time?
              No
              Yes
               In which community state or territory did you live?              California     Fill in the name and current address of that person.

               Karen E. Hawkins
               Name of your spouse, former spouse, or legal equivalent
               1026 Eston Street
               Number        Street


               Camarillo                                       CA              93010
               City                                            State           ZIP Code

3.   In Column 1, list all of your codebtors. Do not include your spouse as a codebtor if your spouse is filing with you. List the
     person shown in line 2 again as a codebtor only if that person is a guarantor or cosigner. Make sure you have listed the
     creditor on Schedule D (Official Form 106D), Schedule E/F (Official Form 106E/F), or Schedule G (Official Form 106G). Use
     Schedule D, Schedule E/F, or Schedule G to fill out Column 2.

        Column 1: Your codebtor                                                                 Column 2: The creditor to whom you owe the debt

                                                                                                Check all schedules that apply:




Official Form 106H                                              Schedule H: Your Codebtors                                                            page 1
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 Fill in this information to identify your case:
     Debtor 1              David                B.                     Hawkins
                           First Name           Middle Name            Last Name                           Check if this is:
     Debtor 2              Karen                E.                     Hawkins                                  An amended filing
     (Spouse, if filing)   First Name           Middle Name            Last Name
                                                                                                                A supplement showing postpetition
     United States Bankruptcy Court for the:   CENTRAL DIST. OF CALIFORNIA
                                                                                                                chapter 13 income as of the following date:
     Case number
     (if known)
                                                                                                                MM / DD / YYYY
Official Form 106I
Schedule I: Your Income                                                                                                                              12/15

Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally
responsible for supplying correct information. If you are married and not filing jointly, and your spouse is living with you,
include information about your spouse. If you are separated and your spouse is not filing with you, do not include information
about your spouse. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write
your name and case number (if known). Answer every question.

 Part 1:          Describe Employment
1.    Fill in your employment
      information.                                             Debtor 1                                           Debtor 2 or non-filing spouse
      If you have more than one
      job, attach a separate page       Employment status             Employed                                           Employed
      with information about                                          Not employed                                       Not employed
      additional employers.
                                        Occupation             Courier                                            Tradeshow/Marketing Coordinato
      Include part-time, seasonal,
      or self-employed work.            Employer's name        Self-Employed                                      Implantech Associates, Inc.

      Occupation may include            Employer's address                                                        6025 Nicolle Street, #B
      student or homemaker, if it                              Number Street                                      Number Street
      applies.




                                                                                                                  Ventura                CA      93003
                                                               City                         State   Zip Code      City                   State   Zip Code

                                        How long employed there?                                                          8 Years

 Part 2:          Give Details About Monthly Income
Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your
non-filing spouse unless you are separated.
If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines below. If
you need more space, attach a separate sheet to this form.

                                                                                            For Debtor 1            For Debtor 2 or
                                                                                                                    non-filing spouse

2.    List monthly gross wages, salary, and commissions (before all             2.                     $0.00              $6,725.08
      payroll deductions). If not paid monthly, calculate what the monthly wage
      would be.
3.    Estimate and list monthly overtime pay.                                      3.   +              $0.00                   $0.00

4.    Calculate gross income. Add line 2 + line 3.                                 4.                  $0.00              $6,725.08




Official Form 106I                                            Schedule I: Your Income                                                                page 1
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Debtor 1        David B. Hawkins
Debtor 2        Karen E. Hawkins                                                                                                      Case number (if known)
                                                                                                                        For Debtor 1              For Debtor 2 or
                                                                                                                                                  non-filing spouse
     Copy line 4 here ...................................................................................................................
                                                                                                                 4.                       $0.00       $6,725.08
5.   List all payroll deductions:
     5a. Tax, Medicare, and Social Security deductions                                                          5a.                 $0.00             $1,202.09
     5b. Mandatory contributions for retirement plans                                                           5b.                 $0.00                 $0.00
     5c. Voluntary contributions for retirement plans                                                           5c.                 $0.00                 $0.00
     5d. Required repayments of retirement fund loans                                                           5d.                 $0.00                 $0.00
     5e. Insurance                                                                                              5e.                $43.67             $1,346.92
     5f. Domestic support obligations                                                                           5f.                 $0.00                 $0.00
     5g. Union dues                                                                                             5g.                 $0.00                 $0.00
     5h. Other deductions.
          Specify:                                                                                              5h. +                $0.00                 $0.00
6.   Add the payroll deductions.                   Add lines 5a + 5b + 5c + 5d + 5e + 5f +                      6.                 $43.67             $2,549.01
     5g + 5h.
7.   Calculate total monthly take-home pay.                           Subtract line 6 from line 4.              7.               ($43.67)             $4,176.07
8.   List all other income regularly received:
     8a. Net income from rental property and from operating a                                                   8a.           $1,750.00                    $0.00
          business, profession, or farm
            Attach a statement for each property and business showing
            gross receipts, ordinary and necessary business expenses, and
            the total monthly net income.
     8b. Interest and dividends                                                                                 8b.                  $0.00                 $0.00
     8c. Family support payments that you, a non-filing spouse, or a                                            8c.                  $0.00                 $0.00
         dependent regularly receive
            Include alimony, spousal support, child support, maintenance,
            divorce settlement, and property settlement.
     8d. Unemployment compensation                                                                              8d.                  $0.00                 $0.00
     8e. Social Security                                                                                        8e.                  $0.00                 $0.00
     8f. Other government assistance that you regularly receive
         Include cash assistance and the value (if known) or any non-
         cash assistance that you receive, such as food stamps
         (benefits under the Supplemental Nutrition Assistance Program)
         or housing subsidies.
         Specify:                                                                                               8f.                  $0.00                 $0.00
     8g. Pension or retirement income                                                                           8g.                  $0.00                 $0.00
     8h. Other monthly income.
         Specify:                                                                                               8h. +                $0.00                 $0.00

9.   Add all other income. Add lines 8a + 8b + 8c + 8d + 8e + 8f + 8g + 8h.                                     9.            $1,750.00                    $0.00

10. Calculate monthly income. Add line 7 + line 9.                             10.     $1,706.33 +         $4,176.07 =                                                        $5,882.40
    Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse.
11. State all other regular contributions to the expenses that you list in Schedule J.
    Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and other
    friends or relatives.

     Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.

     Specify:                                                                                                                                                  11.    +           $0.00

12. Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly                                                  12.            $5,882.40
    income. Write that amount on the Summary of Your Assets and Liabilities and Certain Statistical Information,
    if it applies.                                                                                                                                                        Combined
                                                                                                                                                                          monthly income
13. Do you expect an increase or decrease within the year after you file this form?
        No.           None.
            Yes. Explain:




Official Form 106I                                                                  Schedule I: Your Income                                                                        page 2
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Debtor 1     David B. Hawkins
Debtor 2     Karen E. Hawkins                                        Case number (if known)

8a. Attached Statement (Debtor 1)

                                        Income From Hawkins West

Gross Monthly Income:                                                                            $1,750.00

Expense                                      Category                               Amount

Total Monthly Expenses                                                                               $0.00

Net Monthly Income:                                                                              $1,750.00




Official Form 106I                         Schedule I: Your Income                                   page 3
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 Fill in this information to identify your case:
                                                                                                         Check if this is:
     Debtor 1              David                  B.                     Hawkins                             An amended filing
                           First Name             Middle Name            Last Name                           A supplement showing postpetition
                                                                                                             chapter 13 expenses as of the
     Debtor 2              Karen                  E.                     Hawkins
     (Spouse, if filing)   First Name             Middle Name            Last Name                           following date:

     United States Bankruptcy Court for the:    CENTRAL DIST. OF CALIFORNIA                                    MM / DD / YYYY
     Case number
     (if known)

Official Form 106J
Schedule J: Your Expenses                                                                                                                        12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying
correct information. If more space is needed, attach another sheet to this form. On the top of any additional pages, write your
name and case number (if known). Answer every question.


 Part 1:          Describe Your Household
1.    Is this a joint case?

            No. Go to line 2.
            Yes. Does Debtor 2 live in a separate household?
                     No
                     Yes. Debtor 2 must file Official Form 106J-2, Expenses for Separate Household of Debtor 2.
2.    Do you have dependents?                  No
                                               Yes. Fill out this information          Dependent's relationship to    Dependent's      Does dependent
      Do not list Debtor 1 and                                                         Debtor 1 or Debtor 2           age              live with you?
                                               for each dependent...................................
      Debtor 2.                                                                                                                            No
                                                                                                                                           Yes
      Do not state the dependents'
                                                                                                                                           No
      names.
                                                                                                                                           Yes
                                                                                                                                           No
                                                                                                                                           Yes
                                                                                                                                           No
                                                                                                                                           Yes
                                                                                                                                           No
                                                                                                                                           Yes
3.    Do your expenses include                         No
      expenses of people other than                    Yes
      yourself and your dependents?


 Part 2:          Estimate Your Ongoing Monthly Expenses
Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case
to report expenses as of a date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of
the form and fill in the applicable date.
Include expenses paid for with non-cash government assistance if you know the value of
such assistance and have included it on Schedule I: Your Income (Official Form 106I.)                                      Your expenses

4.    The rental or home ownership expenses for your residence.                                                      4.                    $2,942.00
      Include first mortgage payments and any rent for the ground or lot.
      If not included in line 4:

      4a. Real estate taxes                                                                                          4a.                    $350.00

      4b. Property, homeowner's, or renter's insurance                                                               4b.

      4c. Home maintenance, repair, and upkeep expenses                                                              4c.                    $350.00
      4d. Homeowner's association or condominium dues                                                                4d.




 Official Form 106J                                             Schedule J: Your Expenses                                                        page 1
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Debtor 1      David B. Hawkins
Debtor 2      Karen E. Hawkins                                                              Case number (if known)

                                                                                                                 Your expenses

5.   Additional mortgage payments for your residence, such as home equity loans                            5.

6.   Utilities:

     6a. Electricity, heat, natural gas                                                                    6a.                   $180.00
     6b. Water, sewer, garbage collection                                                                  6b.                      $95.00
     6c. Telephone, cell phone, Internet, satellite, and                                                   6c.                   $210.00
         cable services
     6d. Other. Specify:      Cable.                                                                       6d.                   $140.00
7.   Food and housekeeping supplies                                                                        7.                    $450.00
8.   Childcare and children's education costs                                                              8.

9.   Clothing, laundry, and dry cleaning                           (See continuation sheet(s) for details) 9.                       $70.00
10. Personal care products and services                                                                    10.                   $140.00
11. Medical and dental expenses                                                                            11.                   $124.00
12. Transportation. Include gas, maintenance, bus or train                                                 12.                   $550.00
    fare. Do not include car payments.
13. Entertainment, clubs, recreation, newspapers,                                                          13.                      $50.00
    magazines, and books
14. Charitable contributions and religious donations                                                       14.

15. Insurance.
    Do not include insurance deducted from your pay or included in lines 4 or 20.

     15a.   Life insurance                                                                                 15a.

     15b.   Health insurance                                                                               15b.

     15c.   Vehicle insurance                                                                              15c.                  $260.00
     15d.   Other insurance. Specify:                                                                      15d.
16. Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
    Specify:                                                                                               16.

17. Installment or lease payments:

     17a.   Car payments for Vehicle 1    Payment on Dodge Charger                                         17a.                  $890.00
     17b.   Car payments for Vehicle 2    Payment on Mercedes Metris                                       17b.                  $380.00
     17c.   Other. Specify:                                                                                17c.

     17d.   Other. Specify:                                                                                17d.

18. Your payments of alimony, maintenance, and support that you did not report as                          18.
    deducted from your pay on line 5, Schedule I, Your Income (Official Form 106I).


19. Other payments you make to support others who do not live with you.
    Specify:                                                                                               19.




 Official Form 106J                                        Schedule J: Your Expenses                                                 page 2
       Case 9:19-bk-10605-DS                    Doc 1 Filed 04/02/19 Entered 04/02/19 11:30:28                          Desc
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Debtor 1      David B. Hawkins
Debtor 2      Karen E. Hawkins                                                                 Case number (if known)

20. Other real property expenses not included in lines 4 or 5 of this form or on
    Schedule I: Your Income.
    20a.    Mortgages on other property                                                                      20a.

    20b.    Real estate taxes                                                                                20b.

    20c.    Property, homeowner's, or renter's insurance                                                     20c.

    20d.    Maintenance, repair, and upkeep expenses                                                         20d.

    20e.    Homeowner's association or condominium dues                                                      20e.

21. Other. Specify:                                                                                          21.    +
22. Calculate your monthly expenses.

    22a.    Add lines 4 through 21.                                                                          22a.         $7,181.00
    22b.    Copy line 22 (monthly expenses for Debtor 2), if any, from Official Form 106J-2.                 22b.

    22c.    Add line 22a and 22b. The result is your monthly expenses.                                       22c.         $7,181.00

23. Calculate your monthly net income.

    23a.    Copy line 12 (your combined monthly income) from Schedule I.                                     23a.         $5,882.40
    23b.    Copy your monthly expenses from line 22c above.                                                  23b.   –     $7,181.00
    23c.    Subtract your monthly expenses from your monthly income.
            The result is your monthly net income.                                                           23c.        ($1,298.60)

24. Do you expect an increase or decrease in your expenses within the year after you file this form?

    For example, do you expect to finish paying for your car loan within the year or do you expect your mortgage
    payment to increase or decrease because of a modification to the terms of your mortgage?

           No.
           Yes. Explain here:
                None.




 Official Form 106J                                         Schedule J: Your Expenses                                          page 3
       Case 9:19-bk-10605-DS                  Doc 1 Filed 04/02/19 Entered 04/02/19 11:30:28               Desc
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Debtor 1     David B. Hawkins
Debtor 2     Karen E. Hawkins                                                     Case number (if known)


9.   Clothing, laundry, and dry cleaning (details):
     Clothing                                                                                                     $50.00
     Laundry/Dry Cleaning                                                                                         $20.00

                                                                                        Total:                    $70.00




 Official Form 106J                                   Schedule J: Your Expenses                                    page 4
            Case 9:19-bk-10605-DS                             Doc 1 Filed 04/02/19 Entered 04/02/19 11:30:28                              Desc
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 Fill in this information to identify your case:
 Debtor 1                David                        B.                           Hawkins
                         First Name                   Middle Name                  Last Name

 Debtor 2             Karen                             E.                             Hawkins
                             t ~Na:":'m-e-----:M;=Ci::-;-dd-;;le-N;-;-a-m-e----7L':':as=:'t7:N;-:am=e' - - - - - ­
 (Spouse, if filing) -=Fi"'rs7-

 United States Bankruptcy Court for the: CENTRAL DIST. OF CALIFORNIA

 Case number
 (if known)
                                                                                                                     o   Check if this is an
                                                                                                                         amended filing

Official Form 106Dec
Declaration About an Individual Debtor's Schedules                                                                                               12/15

If two married people are filing together, both are equally responsible for supplying correct information.

You must file this form whenever you file bankruptcy schedules or amended schedules. Making a false statement,
concealing property, or obtaining money or property by fraud in connection with a bankruptcy case can result in fines up to
$250,000, or imprisonmentfor up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



_SignBelOw

     Did you payor agree to pay someone who is NOT an attorney to help you fill out bankruptcy forms?

     Ii:1    No

     o       Yes.    Name of person _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ Attach Bankruptcy Petition Preparer's Notice,
                                                                              Declaration, and Signature (Official Form 119).




                                 rjury, I declare that I have read the summary and schedules filed with this declaration and that they are

                                                      ..
     X ~rw~~'-----------­
       Da
                                                                                x-::t~
                                                                                     Karen E. Hawkins, Debtor 2

            Date    03/26/2019                                                       Date 03/26/2019
                    MM/DD/YYYY                                                            MM/DD/YYYY




Official Form 106Dec                                       Oeclaration About an Individual Debtor's Schedules                                    page 1
       Case 9:19-bk-10605-DS                    Doc 1 Filed 04/02/19 Entered 04/02/19 11:30:28                                 Desc
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 Fill in this information to identify your case:
 Debtor 1           David                 B.                     Hawkins
                    First Name            Middle Name            Last Name

 Debtor 2            Karen                E.                     Hawkins
 (Spouse, if filing) First Name           Middle Name            Last Name


 United States Bankruptcy Court for the: CENTRAL DIST. OF CALIFORNIA

 Case number
                                                                                                                Check if this is an
 (if known)
                                                                                                                amended filing

Official Form 107
Statement of Financial Affairs for Individuals Filing for Bankruptcy                                                                     04/16

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying
correct information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write
your name and case number (if known). Answer every question.


 Part 1:       Give Details About Your Marital Status and Where You Lived Before

1.   What is your current marital status?
        Married
        Not married

2.   During the last 3 years, have you lived anywhere other than where you live now?
         No
         Yes. List all of the places you lived in the last 3 years. Do not include where you live now.

3.   Within the last 8 years, did you ever live with a spouse or legal equivalent in a community property state or territory?
     (Community property states and territories include Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas,
     Washington, and Wisconsin.)
         No
         Yes. Make sure you fill out Schedule H: Your Codebtors (Official Form 106H).




Official Form 107                      Statement of Financial Affairs for Individuals Filing for Bankruptcy                              page 1
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Debtor 1       David B. Hawkins
Debtor 2       Karen E. Hawkins                                                          Case number (if known)

 Part 2:         Explain the Sources of Your Income
4.   Did you have any income from employment or from operating a business during this year or the two previous calendar years?
     Fill in the total amount of income you received from all jobs and all businesses, including part-time activities.
     If you are filing a joint case and you have income that you receive together, list it only once under Debtor 1.

           No
           Yes. Fill in the details.

                                                    Debtor 1                                        Debtor 2

                                                  Sources of income          Gross income          Sources of income         Gross income
                                                  Check all that apply.      (before deductions    Check all that apply.     (before deductions
                                                                             and exclusions                                  and exclusions

From January 1 of the current year until              Wages, commissions,       $6,800.00 (est.)      Wages, commissions,     $17,000.00 (est.)
the date you filed for bankruptcy:                    bonuses, tips                                   bonuses, tips
                                                      Operating a business                            Operating a business


For the last calendar year:                           Wages, commissions,            $29,595.00       Wages, commissions,            $71,852.00
                                                      bonuses, tips                                   bonuses, tips
(January 1 to December 31, 2018 )
                                  YYYY                Operating a business                            Operating a business


For the calendar year before that:                    Wages, commissions,            $17,468.00       Wages, commissions,            $71,975.00
                                                      bonuses, tips                                   bonuses, tips
(January 1 to December 31, 2017 )
                                  YYYY                Operating a business                            Operating a business

5.   Did you receive any other income during this year or the two previous calendar years?
     Include income regardless of whether that income is taxable. Examples of other income are alimony; child support; Social Security;
     unemployment; and other public benefit payments; pensions; rental income; interest; dividends; money collected from lawsuits; royalties;
     and gambling and lottery winnings. If you are in a joint case and you have income that you received together, list it only once under
     Debtor 1.

     List each source and the gross income from each source separately. Do not include income that you listed in line 4.

           No
           Yes. Fill in the details.




Official Form 107                        Statement of Financial Affairs for Individuals Filing for Bankruptcy                              page 2
         Case 9:19-bk-10605-DS                      Doc 1 Filed 04/02/19 Entered 04/02/19 11:30:28                                        Desc
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Debtor 1         David B. Hawkins
Debtor 2         Karen E. Hawkins                                                             Case number (if known)


  Part 3:         List Certain Payments You Made Before You Filed for Bankruptcy
6.     Are either Debtor 1's or Debtor 2's debts primarily consumer debts?

           No.      Neither Debtor 1 nor Debtor 2 has primarily consumer debts. Consumer debts are defined in 11 U.S.C. § 101(8) as
                    "incurred by an individual primarily for a personal, family, or household purpose."

                    During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $6,425* or more?

                       No. Go to line 7.

                       Yes. List below each creditor to whom you paid a total of $6,425* or more in one or more payments and the
                            total amount you paid that creditor. Do not include payments for domestic support obligations, such as
                            child support and alimony. Also, do not include payments to an attorney for this bankruptcy case.

                    * Subject to adjustment on 4/01/19 and every 3 years after that for cases filed on or after the date of adjustment.

           Yes. Debtor 1 or Debtor 2 or both have primarily consumer debts.

                    During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $600 or more?

                       No. Go to line 7.

                       Yes. List below each creditor to whom you paid a total of $600 or more and the total amount you paid that
                            creditor. Do not include payments for domestic support obligations, such as child support and alimony.
                            Also, do not include payments to an attorney for this bankruptcy case.

                                                              Dates of       Total amount         Amount you          Was this payment for...
                                                              payment        paid                 still owe
Ventura County Credit Union                                                                                                 Mortgage
Creditor's name                                                                                                             Car
                                                                                                                            Credit card
Number     Street
                                                                                                                            Loan repayment
                                                                                                                            Suppliers or vendors
                                                                                                                            Other
City                                State    ZIP Code

                                                              Dates of       Total amount         Amount you          Was this payment for...
                                                              payment        paid                 still owe
Statebridge                                                                                                                 Mortgage
Creditor's name                                                                                                             Car
                                                                                                                            Credit card
Number     Street
                                                                                                                            Loan repayment
                                                                                                                            Suppliers or vendors
                                                                                                                            Other
City                                State    ZIP Code




Official Form 107                           Statement of Financial Affairs for Individuals Filing for Bankruptcy                                   page 3
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Debtor 1         David B. Hawkins
Debtor 2         Karen E. Hawkins                                                            Case number (if known)

7.   Within 1 year before you filed for bankruptcy, did you make a payment on a debt you owed anyone who was an insider?
     Insiders include your relatives; any general partners; relatives of any general partners; partnerships of which you are a general partner;
     corporations of which you are an officer, director, person in control, or owner of 20% or more of their voting securities; and any managing
     agent, including one for a business you operate as a sole proprietor. 11 U.S.C. § 101. Include payments for domestic support obligations
     such as child support and alimony.

           No
           Yes. List all payments to an insider.

8.   Within 1 year before you filed for bankruptcy, did you make any payments or transfer any property on account of a debt that
     benefited an insider?
     Include payments on debts guaranteed or cosigned by an insider.

           No
           Yes. List all payments that benefited an insider.




 Part 4:          Identify Legal Actions, Repossessions, and Foreclosures
9.   Within 1 year before you filed for bankruptcy, were you a party in any lawsuit, court action, or administrative proceeding?
     List all such matters, including personal injury cases, small claims actions, divorces, collection suits, paternity actions, support or custody
     modifications, and contract disputes.

           No
           Yes. Fill in the details.

Case title                                 Nature of the case                         Court or agency                               Status of the case
Capital One Bank (USA), N.A. v.            Limited Civil                              Ventura County Superior Court
                                                                                                                                              Pending
Karen E. Hawkins                                                                      Court Name
                                                                                      800 S. Victoria Ave.                                    On appeal
                                                                                      Number     Street
Case number 56-2018-00521836-CL-CL-VTA                                                                                                        Concluded

                                                                                      Ventura                    CA      93010
                                                                                      City                       State   ZIP Code


10. Within 1 year before you filed for bankruptcy, was any of your property repossessed, foreclosed, garnished, attached,
    seized, or levied?
    Check all that apply and fill in the details below.

           No. Go to line 11.
           Yes. Fill in the information below.

11. Within 90 days before you filed for bankruptcy, did any creditor, including a bank or financial institution, set off any
    amounts from your accounts or refuse to make a payment because you owed a debt?

           No
           Yes. Fill in the details.

12. Within 1 year before you filed for bankruptcy, was any of your property in the possession of an assignee for the benefit of
    creditors, a court-appointed receiver, a custodian, or another official?

           No
           Yes




Official Form 107                        Statement of Financial Affairs for Individuals Filing for Bankruptcy                                    page 4
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Debtor 1       David B. Hawkins
Debtor 2       Karen E. Hawkins                                                            Case number (if known)

  Part 5:        List Certain Gifts and Contributions
13. Within 2 years before you filed for bankruptcy, did you give any gifts with a total value of more than $600 per person?

           No
           Yes. Fill in the details for each gift.

14. Within 2 years before you filed for bankruptcy, did you give any gifts or contributions with a total value of more than $600
    to any charity?


           No
           Yes. Fill in the details for each gift or contribution.

  Part 6:        List Certain Losses
15. Within 1 year before you filed for bankruptcy or since you filed for bankruptcy, did you lose anything because of theft, fire,
    other disaster, or gambling?

           No
           Yes. Fill in the details.

  Part 7:        List Certain Payments or Transfers
16. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to
    anyone you consulted about seeking bankruptcy or preparing a bankruptcy petition?
       Include any attorneys, bankruptcy petition preparers, or credit counseling agencies for services required for your bankruptcy.

           No
           Yes. Fill in the details.

                                                       Description and value of any property transferred        Date payment        Amount of
Law Office of Brian Nomi                               $1,500.00 for preparation and filing of Chapter          or transfer was     payment
Person Who Was Paid                                    7 Bankruptcy                                             made

215 E. Daily Drive, Suite 28                                                                                        2/7/2019
Number      Street




Camarillo                     CA       93010
City                          State    ZIP Code


Email or website address


Person Who Made the Payment, if Not You

                                                       Description and value of any property transferred        Date payment        Amount of
Access Counseling, Inc.,                               $9                                                       or transfer was     payment
Person Who Was Paid                                                                                             made

                                                                                                                   2/25/2019            $9.00
Number      Street




City                          State    ZIP Code

www.accessbk.org
Email or website address


Person Who Made the Payment, if Not You




Official Form 107                          Statement of Financial Affairs for Individuals Filing for Bankruptcy                             page 5
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Debtor 1       David B. Hawkins
Debtor 2       Karen E. Hawkins                                                          Case number (if known)

17. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to
    anyone who promised to help you deal with your creditors or to make payments to your creditors?
    Do not include any payment or transfer that you listed on line 16.

           No
           Yes. Fill in the details.

18. Within 2 years before you filed for bankruptcy, did you sell, trade, or otherwise transfer any property to anyone, other than
    property transferred in the ordinary course of your business or financial affairs?
    Include both outright transfers and transfers made as security (such as granting of a security interest or mortgage on your property).
    Do not include gifts and transfers that you have already listed on this statement.


           No
           Yes. Fill in the details.

19. Within 10 years before you filed for bankruptcy, did you transfer any property to a self-settled trust or similar device of which
    you are a beneficiary? (These are often called asset-protection devices.)
           No
           Yes. Fill in the details.

 Part 8:         List Certain Financial Accounts, Instruments, Safe Deposit Boxes, and Storage Units
20. Within 1 year before you filed for bankruptcy, were any financial accounts or instruments held in your name, or for your
    benefit, closed, sold, moved, or transferred?
    Include checking, savings, money market, or other financial accounts; certificates of deposit; shares in banks, credit unions, brokerage
    houses, pension funds, cooperatives, associations, and other financial institutions.

           No
           Yes. Fill in the details.

21. Do you now have, or did you have within 1 year before you filed for bankruptcy, any safe deposit box or other depository
    for securities, cash, or other valuables?

           No
           Yes. Fill in the details.

22. Have you stored property in a storage unit or place other than your home within 1 year before you filed for bankruptcy?
       No
       Yes. Fill in the details.

 Part 9:         Identify Property You Hold or Control for Someone Else
23. Do you hold or control any property that someone else owns? Include any property you borrowed from, are storing for,
    or hold in trust for someone.

           No
           Yes. Fill in the details.




Official Form 107                      Statement of Financial Affairs for Individuals Filing for Bankruptcy                                    page 6
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Debtor 1        David B. Hawkins
Debtor 2        Karen E. Hawkins                                                                Case number (if known)

  Part 10:        Give Details About Environmental Information
For the purpose of Part 10, the following definitions apply:

       Environmental law means any federal, state, or local statute or regulation concerning pollution, contamination, releases of
       hazardous or toxic substance, wastes, or material into the air, land, soil, surface water, groundwater, or other medium,
       including statutes or regulations controlling the cleanup of these substances, wastes, or material.
       Site means any location, facility, or property as defined under any environmental law, whether you now own, operate, or
       utilize it or used to own, operate, or utilize it, including disposal sites.

       Hazardous material means anything an environmental law defines as a hazardous waste, hazardous substance, toxic
       substance, hazardous material, pollutant, contaminant, or similar item.

Report all notices, releases, and proceedings that you know about, regardless of when they occurred.

24. Has any governmental unit notified you that you may be liable or potentially liable under or in violation of an environmental
    law?


            No
            Yes. Fill in the details.

25. Have you notified any governmental unit of any release of hazardous material?
       No
       Yes. Fill in the details.

26. Have you been a party in any judicial or administrative proceeding under any environmental law? Include settlements and
    orders.

            No
            Yes. Fill in the details.

  Part 11:        Give Details About Your Business or Connections to Any Business
27. Within 4 years before you filed for bankruptcy, did you own a business or have any of the following connections to any
    business?

                 A sole proprietor or self-employed in a trade, profession, or other activity, either full-time or part-time
                 A member of a limited liability company (LLC) or limited liability partnership (LLP)
                 A partner in a partnership
                 An officer, director, or managing executive of a corporation
                 An owner of at least 5% of the voting or equity securities of a corporation

            No. None of the above applies. Go to Part 12.
            Yes. Check all that apply above and fill in the details below for each business.

                                                  Describe the nature of the business                 Employer Identification number
Hawkins West USA                                  Courier/Transportation Service                      Do not include Social Security number or ITIN.
Business Name
                                                                                                      EIN:           –
dba Hawkins West Couriers                         Name of accountant or bookkeeper
Number       Street
                                                                                                      Dates business existed
1026 Eston St.
                                                                                                      From        2014         To   Present
Camarillo                  CA      93010
City                       State   ZIP Code




Official Form 107                          Statement of Financial Affairs for Individuals Filing for Bankruptcy                                 page 7
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Debtor 1     David B. Hawkins
Debtor 2     Karen E. Hawkins                                                              Case number (if known) _ _ _ _ _ _ _ _ _ _ _ __

28. Within 2 years before you filed for bankruptcy, did you give a financial statement to anyone about your business? Include
    all financial institutions, creditors, or other parties.

     o No
     o Yes, Fill in the details below.
               Sign Below
I have read the answers on this Statement of Financial Affairs and any attachments, and I declare under penalty of perjury
that answers are true and correct. I understand that making a false statement, concealing property, or obtaining money or
property by fraud in   nnection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years,
or both. 18 U.S.C.    152,1341,1519, and 3571.



                                                           xd~Karen E. Hawkins, Debtor 2

    Date     03/26/2019                                       Date     03/26/2019

Did you attach additional pages to Your Statement of Financial Affairs for Individuals Filing for Bankruptcy (Official Form 107)?

o No
DYes

Did you payor agree to pay someone who is not an attorney to help you fill out bankruptcy forms?

o No
o   Yes. Name of person _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ Attach the Bankruptcy Petition Preparer's Notice,
                                                                        Declaration, and Signature (Official Form 119).




Official Form 107                        Statement of Financial Affairs for Individuals Filing for Bankruptcy                       page 8
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 Fill in this information to identify your case:
 Debtor 1              David              B.                      Hawkins
                       First Name         Middle Name             Last Name

 Debtor 2            Karen                E.                      Hawkins
 (Spouse, if filing) First Name           Middle Name             Last Name


 United States Bankruptcy Court for the: CENTRAL DIST. OF CALIFORNIA

 Case number
                                                                                                                               Check if this is an
 (if known)
                                                                                                                               amended filing



Official Form 108
Statement of Intention for Individuals Filing Under Chapter 7                                                                               12/15

If you are an individual filing under chapter 7, you must fill out this form if:

     creditors have claims secured by your property, or

     you have leased personal property and the lease has not expired.

You must file this form with the court within 30 days after you file your bankruptcy petition or by the date set for the meeting
of creditors, whichever is earlier, unless the court extends the time for cause. You must also send copies to the creditors
and lessors you list on the form.

If two married people are filing together in a joint case, both are equally responsible for supplying correct information.
Both debtors must sign and date the form.

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. On the top of any
additional pages, write your name and case number (if known).


 Part 1:           List Your Creditors Who Hold Secured Claims

1.    For any creditors that you listed in Part 1 of Schedule D: Creditors Who Hold Claims Secured by Property (Official Form 106D),
      fill in the information below.

      Identify the creditor and the property that is collateral         What do you intend to do with the            Did you claim the property
                                                                        property that secures a debt?                as exempt on Schedule C?

      Creditor's        Baxter Credit Union                                   Surrender the property.                    No
      name:                                                                   Retain the property and redeem it.         Yes
      Description of    Camarillo House                                       Retain the property and enter into a
      property                                                                Reaffirmation Agreement.
      securing debt:                                                          Retain the property and [explain]:


      Creditor's        Macquarie Mortgages Us                                Surrender the property.                    No
      name:                                                                   Retain the property and redeem it.         Yes
      Description of    Camarillo House                                       Retain the property and enter into a
      property                                                                Reaffirmation Agreement.
      securing debt:                                                          Retain the property and [explain]:


      Creditor's        Ventura County Credit Union                           Surrender the property.                    No
      name:                                                                   Retain the property and redeem it.         Yes
      Description of    2015 Ford Transit Connect                             Retain the property and enter into a
      property                                                                Reaffirmation Agreement.
      securing debt:                                                          Retain the property and [explain]:




Official Form 108                         Statement of Intention for Individuals Filing Under Chapter 7                                     page 1
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Debtor 1      David B. Hawkins
Debtor 2      Karen E. Hawkins                                                            Case number (if known) _ _ _ _ _ _ _ _ _ _ __

     Identify the creditor and the property that is collateral           What do you intend to do with the           Did you claim the property
                                                                         property that secures a debt?               as exempt on Schedule C?

     Creditor's       Ventura County Credit Union                        D   Surrender the property.                 o    No
     name:                                                               D   Retain the property and redeem it.      DYes
     Description of    Mercedes Metris                                   o   Retain the property and enter into a
     property                                                                Reaffirmation Agreement.
     securing debt:                                                      D   Retain the property and [explain]:



                  List Your Unexpired Personal Prlnn,~rtv Leases

For any unexpired personal property lease that you listed in Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G),
fill in the information below. Do not list real estate leases. Unexpired leases are leases that are still in effect; the lease period has not
yet ended. You may assume an unexpired personal property lease if the trustee does not assume it. 11 U.S.C. § 365(p)(2).

     Describe your unexpired personal property leases                                                               Will this lease be assumed?

     None.



                  Sign Below

                       erjury, I declare that I have indicated my intention about any property of my estate that secures a debt and
                       that is subject to an unexpired lease.
                                   r'                            \   \              ,


X
    ::;---:"~-;-J.a~1{;;;~;;;;"",""""="=""",,-----
                                                        XI'" ;:tr:--------­
                                                            Karen E. Hawkins, Debtor 2

    Date 03/26/2019                                         Date 03/26/2019
         MM I DD IYYYY                                           MM/DD IYYYY




Official Form 108                        Statement of Intention for Individuals Filing Under Chapter 7                                     page 2
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B2030 (Form 2030) (12/15)
                                                          UNITED STATES BANKRUPTCY COURT
                                                           CENTRAL DISTRICT OF CALIFORNIA
                                                                 NORTHERN DIVISION
In re David B. Hawkins                                                                                                              Case No.
      Karen E. Hawkins
                                                                                                                                    Chapter            7

                          DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR
1. Pursuant to 11 U.S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above named debtor(s) and
   that compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for
   services rendered or to be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case
   is as follows:

     For legal services, I have agreed to accept.........................................................................................................
                                                                                                                                 $1,500.00
     Prior to the filing of this statement I have received.............................................................................................
                                                                                                                                $1,500.00
     Balance Due..............................................................................................................................................................
                                                                                                                                                        $0.00

2. The source of the compensation paid to me was:
                       Debtor                                    Other (specify)

3. The source of compensation to be paid to me is:
                       Debtor                                    Other (specify)

4.         I have not agreed to share the above-disclosed compensation with any other person unless they are members and
           associates of my law firm.

           I have agreed to share the above-disclosed compensation with another person or persons who are not members or
           associates of my law firm. A copy of the agreement, together with a list of the names of the people sharing in the
           compensation, is attached.


5. In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:

     a. Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in
     bankruptcy;

     b. Preparation and filing of any petition, schedules, statements of affairs and plan which may be required;

     c. Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;
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B2030 (Form 2030) (12/15)

6. By agreement with the debtor(s), the above-disclosed fee does not include the following services:




                                                           CERTIFICATION




                                                             aa
      I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for
   cepcesentation ofthe debtoc(.) ,n th. ban'cupley P,"CeM


                   03/2'/2019
                                                    --------------------------------~------------------
                      Date                            Brian Nomi                                 Bar No. 203059
                                                      Brian Nomi
                                                      215 E. Daily Dr., Ste. 28
                                                      Camarillo, CA 93010
                                                      Phone: (805) 444-5960 1 Fax: (805) 357-5333



                             (



  David B. Hawkins                                                 Karen E. Hawkins
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 Attorney or Party !\lame, Address, Telephone & FAX                           FOR COURT USE ONLY
 Nos., State Bar No. & Email Address


 LAW OFFICE OF BRIAN NOMI
 By: Brian Nomi (State Bar #203059)
 215 E. Daily Dr., Suite 28
 Camarillo, California 93010
 (805) 444-5960
 (805) 357-5333 (fax)
 E-Mail: briannomi@yahoo.com




                                          UNITED STATES BANKRUPTCY COURT
                             CENTRAL DISTRICT OF CALIFORNIA - NORTHERN DIVISION

 In re:                                                                       CASE NO.:
                                                                              CHAPTER: 7
 David B. Hawkins & Karen E. Hawkins

                                                                                         DEBTOR'S ATTORNEY'S
                                                                                     DISCLOSURE OF COMPENSATION
                                                                                      ARRANGEMENT IN INDIVIDUAL
                                                                                           CHAPTER 7 CASE
                                                                                                       [LBR 2090-1 (a)(3)]
                                                              Debtor(s).

     Compensation Arrangement. Pursuant to 11 U.S.C. § 329(a), FRBP 2016(b), and LBR 2090-1 (a)(3) and (4),
     I disclose that:
     a.   I am the attorney for the Debtor.
     b.   Compensation that was paid to me, within one year before the petition was filed, or was agreed to be paid to me,
          for services rendered or to be rendered on behalf of the Debtor in contemplation of or in connection with this
          bankruptcy case, is as follows:
          i. For legal services, I have agreed to accept                 an hourly rate of "'_____,. or a                  flat fee of $1 ,500.00
          Ii.    I8J Prior to filing this disclosure I received $1.500.00
          iii.   I8J The balance due is $....0:.;..;.0"--_ __
2.   Source of Compensation Paid Postpetition (Postpetition Compensation).
     a.   Already Paid. The source(s) of the Postpetition Compensation paid to me was:
          I8J Debtor(s)          0   Other (specify): _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __

     b.   To be Paid. The source(s) of the Postpetition Compensation to be paid to me is:
                 Debtor(s)       0   Other (specify): _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __

3.   Sharing of Compensation Paid Postpetition.
     Igj I have not agreed to share Postpetition Compensation with any other person unless they are members or regular
          associates of my law firm within the meaning of FRBP 9001(10).
     o    I have agreed to share Postpetition Compensation with other person or persons who are not members or regular
          associates of my law firm within the meaning of FRBP 9001 (1 0). Attached as Exhibit A is a copy of the
          agreement and a list of the names of the people sharing in the Post petition Compensation.

            This form is mandatory. It has been approved for use in the United States Bankruptcy Court for the Central District of California.

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4.   Limited Scope of Services. A limited scope of appearance is permitted under LBR 2090-1 (a)(3), unless otherwise
     required by the presiding judge. In return for the fee disclosed above, I have agreed to provide the required legal
     services indicated below in paragraph "a", and, if any are indicated, the additional services checked in
     paragraph "4.b".
      a.     Services required to be provided:
             i.     Analysis of the Debtor's financial situation, and advice to the Debtor in determining whether to file a
                    bankruptcy petition;
             ii.    Preparation and filing of any petition, lists, schedules and statements and any other required case
                    commencement documents; and
             iiI.   Representation of tl:e Debtor at the initial § 341 (a) meeting of creditors.
      b.     0      Additional legal services I will provide:
             i.         Any proceeding related to relief from stay motions.
             ii.        Any proceeding involving an objection to the Debtor's discharge pursuant to 11 U.S.C. § 727.
             iii.   o   Any proceeding to determine whether a specific debt is nondischargeable under 11 U.S.C. § 523.
             iv.         Reaffirmation of a debt.
             v.     o   Any lien avoidance under 11 U.S.C. § 522(f)
             vi.    o   Other (specify):




5.   If in the future I agree to represent the Debtor in additional matters, I will complete and file the Attorney's Disclosure
     of Postpetition Compensation, LBR form F 2016-1.4.ATTY.COMP.DISCLSR.

                                             DECLARATION OF ATTORNEY FOR THE DEBTOR
                  I declare under penalty of perjury that the foregoing is a complete statement of any agreement or
           arrangement for payment to me for representation of the Debtor in this bankruptcy case


             Date:    ===.::.:....!...:::_                   /lfflt
                                                 Signature of attorney for the Debtor
                                                 Brian Nomi
                                                 Printed name of attorney
                                                 Law Office of Brian Nomi
                                                 Printed name of law firm


                                                    DECLARATION OF THE DEBTOR
                   IIwe declare under penalty of perjury that my attorney has explained to me/us the limited scope of
           representation as outlined above. IIwe understand that IIwe have paid or agreed to pay solely for the required
           services listed in paragraph 4a, and the additional services (if any) that are checked off in paragraph 4b
           above, and that I/we am representing myself/ourselves for any other proceedings unless a new agreement is
           reache with a'1 attorney.

                                                                                Date: -'-'-_ _'----9_



            Signature of Debtor 1                                               Signature of Debtor 2 (Joint Debtor)(if applicable)
           David B. Hawkins                                                             E.
           Printed name of Debtor .,                                            Printed name of Debtor 2


           This form is mandatory. It has been approved for use in the United States Bankruptcy Court for the Central District of California.

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 Fill in this information to identify your case:                                             Check one box only as directed in this
                                                                                             form and in Form 122A-1Supp:
 Debtor 1           David                B.                    Hawkins
                    First Name           Middle Name           Last Name                       1. There is no presumption of abuse.

 Debtor 2            Karen               E.                    Hawkins                         2. The calculation to determine if a presumption
 (Spouse, if filing) First Name          Middle Name           Last Name                          of abuse applies will be made under Chapter 7
                                                                                                  Means Test Calculation (Official Form 122A-2).
 United States Bankruptcy Court for the: CENTRAL DIST. OF CALIFORNIA
                                                                                               3. The Means Test does not apply now because
 Case number                                                                                      of qualified military service but it could apply
 (if known)                                                                                       later.

                                                                                                 Check if this is an amended filing

Official Form 122A-1
Chapter 7 Statement of Your Current Monthly Income                                                                                            12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for being
accurate. If more space is needed, attach a separate sheet to this form. Include the line number to which the additional
information applies. On the top of any additional pages, write your name and case number (if known). If you believe that you
are exempted from a presumption of abuse because you do not have primarily consumer debts or because of qualifying
military service, complete and file Statement of Exemption from Presumption of Abuse Under § 707(b)(2) (Official Form
122A-1Supp) with this form.


 Part 1:       Calculate Your Current Monthly Income

1.   What is your marital and filing status? Check one only.

          Not married. Fill out Column A, lines 2-11.

          Married and your spouse is filing with you. Fill out both Columns A and B, lines 2-11.

          Married and your spouse is NOT filing with you. You and your spouse are:

               Living in the same household and are not legally separated. Fill out both Columns A and B, lines 2-11.

               Living separately or are legally separated. Fill out Column A, lines 2-11; do not fill out Column B. By checking this box, you
               declare under penalty of perjury that you and your spouse are legally separated under nonbankruptcy law that applies or that you
               and your spouse are living apart for reasons that do not include evading the Means Test requirements. 11 U.S.C. § 707(b)(7)(B).


     Fill in the average monthly income that you received from all sources, derived during the 6 full months before you file this
     bankruptcy case. 11 U.S.C. § 101(10A). For example, if you are filing on September 15, the 6-month period would be March 1 through
     August 31. If the amount of your monthly income varied during the 6 months, add the income for all 6 months and divide the total by 6. Fill
     in the result. Do not include any income amount more than once. For example, if both spouses own the same rental property, put the
     income from that property in one column only. If you have nothing to report for any line, write $0 in the space.


                                                                                            Column A        Column B
                                                                                            Debtor 1        Debtor 2 or
                                                                                                            non-filing spouse

2.   Your gross wages, salary, tips, bonuses, overtime, and commissions                      $1,500.00            $6,725.00
     (before all payroll deductions).

3.   Alimony and maintenance payments. Do not include payments from a spouse                       $0.00               $0.00
     if Column B is filled in.

4.   All amounts from any source which are regularly paid for household                            $0.00               $0.00
     expenses of you or your dependents, including child support. Include
     regular contributions from an unmarried partner, members of your household,
     your dependents, parents, and roommates. Include regular contributions from
     a spouse only if Column B is not filled in. Do not include payments you listed
     on line 3.




Official Form 122A-1                          Chapter 7 Statement of Your Current Monthly Income                                              page 1
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Debtor 1        David B. Hawkins
Debtor 2        Karen E. Hawkins                                                                                                    Case number (if known)

                                                                                                                                         Column A      Column B
                                                                                                                                         Debtor 1      Debtor 2 or
                                                                                                                                                       non-filing spouse

5.   Net income from operating a business, profession, or farm

                                                              Debtor 1                       Debtor 2

     Gross receipts (before all                                            $0.00                          $0.00
     deductions)

     Ordinary and necessary operating                     –                $0.00         –                $0.00
     expenses
                                                                                                                       Copy
     Net monthly income from a business,                                   $0.00                          $0.00 here                           $0.00            $0.00
     profession, or farm

6.   Net income from rental and other real property

                                                              Debtor 1                       Debtor 2

     Gross receipts (before all                                            $0.00                          $0.00
     deductions)

     Ordinary and necessary operating                     –                $0.00         –                $0.00
     expenses
                                                                                                                       Copy
     Net monthly income from rental or                                     $0.00                          $0.00 here                           $0.00            $0.00
     other real property

7.   Interest, dividends, and royalties                                                                                                        $0.00            $0.00
8.   Unemployment compensation                                                                                                                 $0.00            $0.00
     Do not enter the amount if you contend that the amount received was a
     benefit under the Social Security Act. Instead, list it here: ...............................................

                                                                                                              $0.00
         For you............................................................................................................................

                                                                                                         $0.00
         For your spouse..............................................................................................................

9.   Pension or retirement income. Do not include any amount received that                                                                     $0.00            $0.00
     was a benefit under the Social Security Act.

10. Income from all other sources not listed above. Specify the source and
    amount. Do not include any benefits received under the Social Security Act
    or payments received as a victim of a war crime, a crime against humanity,
    or international or domestic terrorism. If necessary, list other sources on a
    separate page and put the total below.




     Total amounts from separate pages, if any.                                                                                   +                    +
11. Calculate your total current monthly income.
    Add lines 2 through 10 for each column.                                                                                                $1,500.00   +     $6,725.00   =     $8,225.00
    Then add the total for Column A to the total for Column B.
                                                                                                                                                                           Total current
                                                                                                                                                                           monthly income




Official Form 122A-1                                             Chapter 7 Statement of Your Current Monthly Income                                                                 page 2
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Debtor 1       David B. Hawkins
Debtor 2       Karen E. Hawkins                                                                                   Case number (if known)

 Part 2:         Determine Whether the Means Test Applies to You

12. Calculate your current monthly income for the year. Follow these steps:

    12a.                                                                                                                                                                       $8,225.00
            Copy your total current monthly income from line 11....................................................................................................................
                                                                                                                       Copy line 11 here                       12a.

            Multiply by 12 (the number of months in a year).                                                                                                             X       12

    12b.    The result is your annual income for this part of the form.                                                                                         12b.         $98,700.00

13. Calculate the median family income that applies to you. Follow these steps:

    Fill in the state in which you live.                                            California

    Fill in the number of people in your household.                                        2

                                                                                                                                                                       $75,327.00
    Fill in the median family income for your state and size of household......................................................................................................................
                                                                                                                                                          13.
    To find a list of applicable median income amounts, go online using the link specified in the separate
    instructions for this form. This list may also be available at the bankruptcy clerk's office.


14. How do the lines compare?

    14a.           Line 12b is less than or equal to line 13. On the top of page 1, check box 1, There is no presumption of abuse.
                   Go to Part 3.
    14b.           Line 12b is more than line 13. On the top of page 1, check box 2, The presumption of abuse is determined by Form 122A-2.
                   Go to Part 3 and fill out Form 122A-2.


 Part 3:         Sign Below

      By signing here, I declare under penalty of perjury that the information on this statement and in any attachments is true and correct.


      X                                                                                             X
           David B. Hawkins, Debtor 1                                                                    Karen E. Hawkins, Debtor 2

           Date 3/26/2019                                                                                Date 3/26/2019
                MM / DD / YYYY                                                                                MM / DD / YYYY

      If you checked line 14a, do NOT fill out or file Form 122A-2.

      If you checked line 14b, fill out Form 122A-2 and file it with this form.




Official Form 122A-1                                    Chapter 7 Statement of Your Current Monthly Income                                                                           page 3
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 Fill in this information to identify your case:                                                                                Check the appropriate box as directed
                                                                                                                                in lines 40 or 42:
 Debtor 1                 David                             B.                               Hawkins
                          First Name                        Middle Name                      Last Name                           According to the calculation required by this
                                                                                                                                 Statement:
 Debtor 2            Karen                                  E.                               Hawkins
 (Spouse, if filing) First Name                             Middle Name                      Last Name
                                                                                                                                      1. There is no presumption of abuse.
 United States Bankruptcy Court for the: CENTRAL DIST. OF CALIFORNIA
                                                                                                                                      2. There is a presumption of abuse.
 Case number
 (if known)
                                                                                                                                     Check if this is an amended filing




Official Form 122A-2
Chapter 7 Means Test Calculation                                                                                                                                                      04/16

To fill out this form, you will need your completed copy of Chapter 7 Statement of Your Current Monthly Income (Official Form
122A-1).

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for being
accurate. If more space is needed, attach a separate sheet to this form. Include the line number to which the additional
information applies. On the top of any additional pages, write your name and case number (if known).


 Part 1:           Determine Your Adjusted Income

1.   Copy your total current monthly income
                                         ...............................................................................................................................
                                                                      Copy line 11 from Official Form 122A-1 here                                                        1.       $8,225.00

2.   Did you fill out Column B in Part 1 of Form 122A-1?

           No. Fill in $0 for the total on line 3.

           Yes. Is your spouse filing with you?

                   No. Go to line 3.

                   Yes. Fill in $0 for the total on line 3.

3.   Adjust your current monthly income by subtracting any part of your spouse's income not used to pay for
     the household expenses of you or your dependents. Follow these steps:

     On line 11, Column B of Form 122A-1, was any amount of the income you reported for your spouse NOT regularly used
     for the household expenses of you or your dependents?

           No. Fill in $0 for the total on line 3.

           Yes. Fill in the information below:

           State each purpose for which the income was used
                                                                                                            Fill in the amount you
           For example, the income is used to pay your spouse's tax
                                                                                                            are subtracting from
           debt or to support people other than you or your
                                                                                                            your spouse's income
           dependents




                                                                                                           +
         Total ........................................................................................................   $0.00 Copy
                                                                                                                                 ........................................
                                                                                                                                         total here                           –      $0.00


4.   Adjust your current monthly income. Subtract the total on line 3 from line 1.                                                                                                $8,225.00




Official Form 122A-2                                                             Chapter 7 Means Test Calculation                                                                     page 1
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Debtor 1       David B. Hawkins
Debtor 2       Karen E. Hawkins                                                                                           Case number (if known)

 Part 2:         Calculate Your Deductions from Your Income
The Internal Revenue Service (IRS) issues National and Local Standards for certain expense amounts. Use
these amounts to answer the questions in lines 6-15. To find the IRS standards, go online using the link
specified in the separate instructions for this form. This information may also be available at the bankruptcy
clerk's office.

Deduct the expense amounts set out in lines 6-15 regardless of your actual expense. In later parts of the form, you will
use some of your actual expenses if they are higher than the standards. Do not deduct any amounts that you subtracted
from your spouse's income in line 3 and do not deduct any operating expenses that you subtracted from income in lines 5
and 6 of Form 122A-1.

If your expenses differ from month to month, enter the average expense.

Whenever this part of the form refers to you, it means both you and your spouse if Column B of Form 122A-1 is filled in.

 5.   The number of people used in determining your deductions from income

      Fill in the number of people who could be claimed as exemptions on your federal income tax
      return, plus the number of any additional dependents whom you support. This number may                                                                   2
      be different from the number of people in your household.



 National Standards                 You must use the IRS National Standards to answer the questions in lines 6-7.


 6.   Food, clothing and other items: Using the number of people you entered in line 5 and the IRS National Standards,                                                                  $1,202.00
      fill in the dollar amount for food, clothing, and other items.

 7.   Out-of-pocket health care allowance: Using the number of people you entered in line 5 and the IRS National
      Standards, fill in the dollar amount for out-of-pocket health care. The number of people is split into two categories--
      people who are under 65 and people who are 65 or older--because older people have a higher IRS allowance for
      health care costs. If your actual expenses are higher than this IRS amount, you may deduct the additional amount on
      line 22.

        People who are under 65 years of age

      7a. Out-of-pocket health care allowance per person                                        $52.00

      7b. Number of people who are under 65                                           X                  2

      7c. Subtotal. Multiply line 7a by line 7b.                                              $104.00 Copy here                                 $104.00

        People who are 65 years of age or older

      7d. Out-of-pocket health care allowance per person                                      $114.00

      7e. Number of people who are 65 or older                                        X

      7f.    Subtotal. Multiply line 7d by line 7e.                                               $0.00 Copy here                    +              $0.00
                                                                                                                                                                Copy total
                                                                                                                                                                here
                                                                                                                                              $104.00
      7g. Total. Add lines 7c and 7f................................................................................................................................
                                                                                                                              ................................................. 7g.      $104.00




Official Form 122A-2                                                       Chapter 7 Means Test Calculation                                                                                  page 2
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Debtor 1     David B. Hawkins
Debtor 2     Karen E. Hawkins                                                                Case number (if known)

 Local Standards             You must use the IRS Local Standards to answer the questions in lines 8-15.

 Based on information from the IRS, the U.S. Trustee Program has divided the IRS Local Standard for housing
 for bankruptcy purposes into two parts:

      Housing and utilities -- Insurance and operating expenses
      Housing and utilities -- Mortgage or rent expenses

 To answer the questions in lines 8-9, use the U.S. Trustee Program chart.
 To find the chart, go online using the link specified in the separate instructions for this form. This chart may also be
 available at the bankruptcy clerk's office.

 8.    Housing and utilities -- Insurance and operating expenses: Using the number of people you entered in line 5,                 $566.00
       fill in the dollar amount listed for your county for insurance and operating expenses.

 9.    Housing and utilities -- Mortgage or rent expenses:

       9a. Using the number of people you entered in line 5, fill in the dollar amount listed            $2,115.00
           for your county for mortgage or rent expenses.

       9b. Total average monthly payment for all mortgages and other debts secured by
           your home.

            To calculate the total average monthly payment, add all amounts that are
            contractually due to each secured creditor in the 60 months after you file for
            bankruptcy. Then divide by 60.

             Name of the creditor                                 Average monthly
                                                                  payment

            Baxter Credit Union                                     $2,942.00



                                                              +
                                                                                                                   Repeat this
                                                                              Copy                                 amount on
                             Total average monthly payment          $2,942.00 here                 –     $2,942.00 line 33a.

       9c. Net mortgage or rent expense.
                                                                                                                       Copy
            Subtract line 9b (total average monthly payment) from line 9a (mortgage or                        $0.00 here                $0.00
            rent expense). If this amount is less than $0, enter $0.

 10. If you claim that the U.S. Trustee Program's division of the IRS Local Standard for housing is incorrect
     and affects the calculation of your monthly expenses, fill in any additional amount you claim.

       Explain
       why:


 11. Local transportation expenses: Check the number of vehicles for which you claim an ownership or operating expense.
            0. Go to line 14.
            1. Go to line 12.
            2 or more. Go to line 12.

 12. Vehicle operation expense: Using the IRS Local Standards and the number of vehicles for which you claim the                    $436.00
     operating expenses, fill in the Operating Costs that apply for your Census region or metropolitan statistical area.




Official Form 122A-2                                     Chapter 7 Means Test Calculation                                               page 3
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Debtor 1      David B. Hawkins
Debtor 2      Karen E. Hawkins                                                                               Case number (if known)

 13. Vehicle ownership or lease expense: Using the IRS Local Standards, calculate the net ownership or lease
     expense for each vehicle below. You may not claim the expense if you do not make any loan or lease payments on
     the vehicle. In addition, you may not claim the expense for more than two vehicles.


      Vehicle 1         Describe Vehicle 1:          2015 Ford Transit Connect



                                                                                                                           $497.00
      13a. Ownership or leasing costs using IRS Local Standard. ...........................................................................

      13b. Average monthly payment for all debts secured by Vehicle 1.

            Do not include costs for leased vehicles.

            To calculate the average monthly payment here and on line 13e, add all
            amounts that are contractually due to each secured creditor in the 60 months
            after you filed for bankruptcy. Then divide by 60.


              Name of each creditor for Vehicle 1                            Average monthly
                                                                             payment


            Ventura County Credit Union                                            $890.00

                                                                         +
                                                                                                                                      Repeat this
                                                                                                   Copy                               amount on
                                Total average monthly payment                      $890.00         here                  –    $890.00 line 33b.

                                                                                                                                        Copy net
                                                                                                                                        Vehicle 1
      13c. Net Vehicle 1 ownership or lease expense.                                                                                    expense
           Subtract line 13b from line 13a. If this amount is less than $0, enter $0. ........................                    $0.00 here               $0.00

      Vehicle 2         Describe Vehicle 2:          Mercedes Metris



                                                                                                                           $497.00
      13d. Ownership or leasing costs using IRS Local Standard. ...........................................................................

      13e. Average monthly payment for all debts secured by Vehicle 2. Do not include
           costs for leased vehicles.

              Name of each creditor for Vehicle 2                            Average monthly
                                                                             payment


            Ventura County Credit Union                                            $380.00

                                                                         +
                                                                                                                                      Repeat this
                                                                                                   Copy                               amount on
                                Total average monthly payment                      $380.00         here                  –    $380.00 line 33c.

                                                                                                                                      Copy net
                                                                                                                                      Vehicle 2
      13f. Net Vehicle 2 ownership or lease expense.                                                                                  expense
           Subtract line 13e from 13d. If this amount is less than $0, enter $0.                   ........................   $117.00 here             $117.00

 14. Public transportation expense: If you claimed 0 vehicles in line 11, using the IRS Local Standards, fill in the Public                                $0.00
     Transportation expense allowance regardless of whether you use public transportation.




Official Form 122A-2                                              Chapter 7 Means Test Calculation                                                         page 4
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Debtor 1    David B. Hawkins
Debtor 2    Karen E. Hawkins                                                              Case number (if known)

 15. Additional public transportation expense: If you claimed 1 or more vehicles in line 11 and if you claim that you may                 $0.00
     also deduct a public transportation expense, you may fill in what you believe is the appropriate expense, but you may
     not claim more than the IRS Local Standard for Public Transportation.

 Other Necessary Expenses            In addition to the expense deductions listed above, you are allowed your monthly expenses for the
                                     following IRS categories.

 16. Taxes: The total monthly amount that you will actually owe for federal, state and local taxes, such as income taxes,             $2,549.01
     self-employment taxes, social security taxes, and Medicare taxes. You may include the monthly amount withheld from
     your pay for these taxes. However, if you expect to receive a tax refund, you must divide the expected refund by 12
     and subtract that number from the total monthly amount that is withheld to pay for taxes.

      Do not include real estate, sales, or use taxes.

 17. Involuntary deductions: The total monthly payroll deductions that your job requires, such as retirement contributions,               $0.00
     union dues, and uniform costs.

      Do not include amounts that are not required by your job, such as voluntary 401(k) contributions or payroll savings.


 18. Life insurance: The total monthly premiums that you pay for your own term life insurance. If two married people are                  $0.00
     filing together, include payments that you make for your spouse's term life insurance. Do not include premiums for life
     insurance on your dependents, or a non-filing spouse's life insurance, or for any form of life insurance other than
     term.

 19. Court-ordered payments: The total monthly amount that you pay as required by the order of a court or administrative                  $0.00
     agency, such as spousal or child support payments.

      Do not include payments on past due obligations for spousal or child support. You will list these obligations in line 35.

 20. Education: The total monthly amount that you pay for education that is either required:                                              $0.00
       as a condition for your job, or
       for your physically or mentally challenged dependent child if no public education is available for similar services.

 21. Childcare: The total monthly amount that you pay for childcare, such as babysitting, daycare, nursery, and preschool.                $0.00
     Do not include payments for any elementary or secondary school education.

 22. Additional health care expenses, excluding insurance costs: The monthly amount that you pay for health care that                    $20.00
     is required for the health and welfare of you or your dependents and that is not reimbursed by insurance or paid by a
     health savings account. Include only the amount that is more than the total entered in line 7.
     Payments for health insurance or health savings accounts should be listed only in line 25.

 23. Optional telephones and telephone services: The total monthly amount that you pay for telecommunication services             +       $0.00
     for you and your dependents, such as pagers, call waiting, caller identification, special long distance, or business cell
     phone service, to the extent necessary for your health and welfare or that of your dependents or for the production
     of income, if it is not reimbursed by your employer.

      Do not include payments for basic home telephone, internet and cell phone service. Do not include self-employment
      expenses, such as those reported on line 5 of Official Form 122A-1, or any amount you previously deducted.

 24. Add all of the expenses allowed under the IRS expense allowances.
     Add lines 6 through 23.                                                                                                          $4,994.01




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 Additional Expense Deductions           These are additional deductions allowed by the Means Test.
                                         Note: Do not include any expense allowances listed in lines 6-24.

 25. Health insurance, disability insurance, and health savings account expenses. The monthly expenses for health
     insurance, disability insurance, and health savings accounts that are reasonably necessary for yourself, your
     spouse, or your dependents.


      Health insurance                                            $0.00

      Disability insurance                                        $0.00

      Health savings account                           +          $0.00

      Total                                                       $0.00 Copy total here                                                                             $0.00
                                                                                                 ...........................................................................


      Do you actually spend this total amount?

              No. How much do you actually spend?

              Yes

 26. Continuing contributions to the care of household or family members. The actual monthly expenses that you                                                    $0.00
     will continue to pay for the reasonable and necessary care and support of an elderly, chronically ill, or disabled
     member of your household or member of your immediate family who is unable to pay for such expenses. These
     expenses may include contributions to an account of a qualified ABLE program. 26 U.S.C. § 529A(b).

 27. Protection against family violence. The reasonably necessary monthly expenses that you incur to maintain the                                                 $0.00
     safety of you and your family under the Family Violence Prevention and Services Act or other federal laws that apply.

      By law, the court must keep the nature of these expenses confidential.

 28. Additional home energy costs. Your home energy costs are included in your insurance and operating expenses
     on line 8.

      If you believe that you have home energy costs that are more than the home energy costs included in expenses on
      line 8, then fill in the excess amount of home energy costs.

      You must give your case trustee documentation of your actual expenses, and you must show that the additional
      amount claimed is reasonable and necessary.

 29. Education expenses for dependent children who are younger than 18. The monthly expenses (not more than                                                       $0.00
     $160.42* per child) that you pay for your dependent children who are younger than 18 years old to attend a private or
     public elementary or secondary school.

      You must give your case trustee documentation of your actual expenses, and you must explain why the amount
      claimed is reasonable and necessary and not already accounted for in lines 6-23.

      * Subject to adjustment on 4/01/19, and every 3 years after that for cases begun on or after the date of adjustment.

 30. Additional food and clothing expense. The monthly amount by which your actual food and clothing expenses are
     higher than the combined food and clothing allowances in the IRS National Standards. That amount cannot be more
     than 5% of the food and clothing allowances in the IRS National Standards.

      To find a chart showing the maximum additional allowance, go online using the link specified in the separate
      instructions for this form. This chart may also be available at the bankruptcy clerk's office.

      You must show that the additional amount claimed is reasonable and necessary.

 31. Continuing charitable contributions. The amount that you will continue to contribute in the form of cash or financial                       +                $0.00
     instruments to a religious or charitable organization. 26 U.S.C. § 170(c)(1)-(2).




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 32. Add all of the additional expense deductions.
     Add lines 25 though 31.                                                                                                                                                                               $0.00

 Deductions for Debt Payment


 33. For debts that are secured by an interest in property that you own, including home mortgages, vehicle
     loans, and other secured debt, fill in lines 33a through 33e.

      To calculate the total average monthly payment, add all amounts that are contractually due to each secured creditor in
      the 60 months after you file for bankruptcy. Then divide by 60.

                                                                                                                                       Average monthly
                                                                                                                                       payment
              Mortgages on your home:

      33a.                                                                                                                                    $2,942.00
              Copy line 9b here............................................................................................................................................................................................

              Loans on your first two vehicles:

      33b.                                                                                                                                      $890.00
              Copy line 13b here............................................................................................................................................................................................

      33c.                                                                                                                                      $380.00
              Copy line 13e here............................................................................................................................................................................................

      33d.    List other secured debts:
      Name of each creditor for                                    Identify property that                       Does payment
      other secured debt                                           secures the debt                             include taxes or
                                                                                                                insurance?

                                                                                                                               No
                                                                                                                               Yes

                                                                                                                               No
                                                                                                                               Yes

                                                                                                                               No
                                                                                                                                        +
                                                                                                                               Yes
                                                                                                                                                                        Copy total
      33e.                                                                                                       $4,212.00
              Total average monthly payment. Add lines 33a through 33d...............................................................                                   here                        $4,212.00

 34. Are any debts that you listed in line 33 secured by your primary residence, a vehicle, or other property
     necessary for your support or the support of your dependents?

             No. Go to line 35.
             Yes. State any amount that you must pay to a creditor, in addition to the
                  payments listed in line 33, to keep possession of your property (called
                  the cure amount). Next, divide by 60 and fill in the information below.

 Name of the creditor                         Identify property that                             Total cure                                 Monthly cure
                                              secures the debt                                   amount                                     amount

                                                                                                                           ÷ 60 =

                                                                                                                           ÷ 60 =
                                                                                                                           ÷ 60 =       +
                                                                                                                                                                        Copy total
                                                                                                                             Total                      $0.00           here                               $0.00




Official Form 122A-2                                                         Chapter 7 Means Test Calculation                                                                                                page 7
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 35. Do you owe any priority claims such as a priority tax, child support, or
     alimony -- that are past due as of the filing date of your bankruptcy case?
     11 U.S.C. § 507.
             No. Go to line 36.
             Yes. Fill in the total amount of all of these priority claims. Do not include
                  current or ongoing priority claims, such as those you listed in line 19.

                      Total amount of all past-due priority claims...................................................................................... ÷ 60 =                   $0.00

 36. Are you eligible to file a case under Chapter 13? 11 U.S.C. § 109(e).
     For more information, go online using the link for Bankruptcy Basics specified in the separate
     instructions for this form. Bankruptcy Basics may also be available at the bankruptcy clerk's office.

             No. Go to line 37.
             Yes. Fill in the following information.

                      Projected monthly plan payment if you were filing under Chapter 13

                      Current multiplier for your district as stated on the list issued by the
                      Administrative Office of the United States Courts (for districts in Alabama
                      and North Carolina) or by the Executive Office for United States Trustees
                      (for all other districts).
                                                                                                                                        X                 %
                      To find a list of district multipliers that includes your district, go online using
                      the link specified in the separate instructions for this form. This list may
                      also be available at the bankruptcy clerk's office.

                                                                                                                                                              Copy total
                      Average monthly administrative expense if you were filing under Chapter 13                                                              here

 37. Add all of the deductions for debt payment.
     Add lines 33e through 36.                                                                                                                                                $4,212.00

 Total Deductions from Income

 38. Add all of the allowed deductions.

      Copy line 24, All of the expenses allowed under IRS
                                                                                             $4,994.01
      expense allowances.............................................................................................................

                                                                                   $0.00
      Copy line 32, All of the additional expense deductions...............................

                                                                   + $4,212.00
      Copy line 37, All of the deductions for debt payment.....................................................

      Total deductions                                                                          $9,206.01             Copy total here                                         $9,206.01


 Part 3:         Determine Whether There Is a Presumption of Abuse
 39. Calculate monthly disposable income for 60 months

      39a.                                                                    $8,225.00
               Copy line 4, adjusted current monthly income...................................

      39b.                                                                    – $9,206.01
               Copy line 38, Total deductions.......................................................................................................
                                                                                                                   Copy
      39c.     Monthly disposable income. 11 U.S.C. § 707(b)(2).                                 ($981.01) here                             ($981.01)
               Subtract line 39b from line 39a.

               For the next 60 months (5 years)...........................................................................................................
                                                                                                                                    x 60

                                                                                                                                                                  Copy
      39d.                                                                                                                  39d. ($58,860.60) here
               Total. Multiply line 39c by 60.....................................................................................................................          ($58,860.60)




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Debtor 2      Karen E. Hawkins                                                                             Case number (if known)

 40. Find out whether there is a presumption of abuse. Check the box that applies:

             The line 39d is less than $7,700*. On the top of page 1 of this form, check box 1, There is no presumption of abuse.
             Go to Part 5.

             The line 39d is more than $12,850*. On the top of page 1 of this form, check box 2, There is a presumption of abuse.
             You may fill out Part 4 if you claim special circumstances. Then go to Part 5.

             The line 39d is at least $7,700*, but not more than $12,850*. Go to line 41.

             * Subject to adjustment on 4/01/19, and every 3 years after that for cases filed on or after the date of adjustment.

 41. 41a.     Fill in the amount of your total nonpriority unsecured debt. If you filled out
              A Summary of Your Assets and Liabilities and Certain Statistical Information Schedules
              (Official Form 106Sum), you may refer to line 3b on that form. .....................................................................

                                                                                                                              x .25
      41b.    25% of your total nonpriority unsecured debt. 11 U.S.C. § 707(b)(2)(A)(i)(I).                                                          Copy
              Multiply line 41a by 0.25.                                                                                                             here

 42. Determine whether the income you have left over after subtracting all allowed deductions
     is enough to pay 25% of your unsecured, nonpriority debt.
     Check the box that applies:

             Line 39d is less than line 41b. On the top of page 1 of this form, check box 1, There is no presumption of abuse.
             Go to Part 5.

             Line 39d is equal to or more than line 41b. On the top of page 1 of this form, check box 2, There is a presumption of abuse.
             You may fill out Part 4 if you claim special circumstances. Then go to Part 5.


 Part 4:        Give Details About Special Circumstances
 43. Do you have any special circumstances that justify additional expenses or adjustments of current monthly income for
     which there is no reasonable alternative? 11 U.S.C. § 707(b)(2)(B).

             No.    Go to Part 5.

             Yes. Fill in the following information. All figures should reflect your average monthly expense or income adjustment
                  for each item. You may include expenses you listed in line 25.

                    You must give a detailed explanation of the special circumstances that make the expenses or income
                    adjustments necessary and reasonable. You must also give your case trustee documentation of your actual
                    expenses or income adjustments.


                      Give a detailed explanation of the special circumstances                                                              Average monthly expense
                                                                                                                                            or income adjustment




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Debtor 1     David B. Hawkins
Debtor 2     Karen E. Hawkins                                                     Case number (if known) _ _ _ _ _ _ _ _ _ _ __




                                penalty of perjury that the information on this statement and in any attachments is true and correct.


                                                                        x~~Karen E. HaWkins, Debtor 2


           Date 3/26/2019                                                  Date 312612019
                MM/DD/YYYY                                                        MM/DD/YYYY




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                                       UNITED STATES BANKRUPTCY COURT
                                        CENTRAL DISTRICT OF CALIFORNIA
                                               NORTHERN DIVISION
  IN RE:   David B. Hawkins                                                      CASE NO
           Karen E. Hawkins
                                                                                 CHAPTER                7


                                     VERIFICATION OF CREDITOR MATRIX

      The above named Debtor hereby verifies that the attached list of creditors is true and correct to the best of his/her
knowledge.




Date 3/26/2019                                           S~naru~ Q~David B. Hawkins



Date 3/26/2019                                           Signature~  aren E. Hawkms
                                                                                       .........   _.
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                         Ally Financial
                         Attn: Bankruptcy Dept
                         PO Box 380901
                         Bloomington, MN 55438


                         Bank Of America
                         Attn: Bankruptcy
                         PO Box 982238
                         El Paso, TX 79998


                         Bank Of America
                         4909 Savarese Circle
                         FL1-908-01-50
                         Tampa, FL 33634


                         Baxter Credit Union
                         340 N Milwaukee Ave.
                         Vernon Hills, IL 60061



                         Baxter Ecu/BCU
                         Attn: Bankruptcy
                         PO Box 8133
                         Vernon Hills, IL 60061


                         BB&T
                         Attn: Bankruptcy
                         PO Box 1847
                         Wilson, NC 27894


                         Bsi Financial Services
                         10523 N Oak Hills Pkwy
                         Baton Rouge, LA 70810



                         Capital One
                         Attn: Bankruptcy
                         PO Box 30285
                         Salt Lake City, UT 84130


                         Chase Card Services
                         Attn: Bankruptcy
                         PO Box 15298
                         Wilmington, DE 19850
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                         Citibank/The Home Depot
                         Attn: Recovery/Centralized Bankruptcy
                         PO Box 790034
                         St Louis, MO 63179


                         Credit One Bank
                         ATTN: Bankruptcy Department
                         PO Box 98873
                         Las Vegas, NV 89193


                         DSRM Nat Bank/Valero
                         Attn: Bankruptcy
                         PO Box 696000
                         San Antonio, TX 78260


                         Fidelity Creditor Service
                         Attn: Bankruptcy
                         441 North Varney Street
                         Burbank, CA 91502


                         Hunt & Henriques
                         151 Bernal Rd., Suite 8
                         San Jose, CA 95119-1306



                         Macquarie Mortgages Us
                         3451 Hammond Avenue
                         Waterloo, IA 50702



                         Mercury/FBT
                         Attn: Bankruptcy
                         PO Box 84064
                         Columbus, GA 31908


                         Patenaude & Felix
                         4545 Murphy Canyon Rd. 3rd Floor
                         San Diego, CA 92123



                         Synchrony Bank/Lowes
                         Attn: Bankruptcy
                         PO Box 965060
                         Orlando, FL 32896
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                         Synchrony Bank/Walmart
                         Attn: Bankruptcy
                         PO Box 965060
                         Orlando, FL 32896


                         Target
                         Attn: Bankruptcy
                         PO Box 9475
                         Minneapolis, MN 55440


                         Ventura County Credit Union
                         2575 Vista Del Mar Drive
                         Suite 100
                         Ventura, CA 93001
